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                     UNITED STATES DISTRICT COURT
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                   SOUTHERN DISTRICT OF CALIFORNIA
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14   IN RE: QUALCOMM LITIGATION          No. 17-cv-0108-GPC-MDD
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                                         JOINT PRETRIAL BRIEF
16                                       IDENTIFYING DISPUTED
17                                       CONTRACT PROVISIONS AND
                                         THE PARTIES’ POSITION ON
18                                       EACH DISPUTED PROVISION
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                                                              Case No. 17-cv-0108-GPC-MDD
28                      JOINT PRETRIAL BRIEF IDENTIFYING DISPUTED CONTRACT PROVISIONS
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1                                        INTRODUCTION
2          In accordance with the Court’s December 19, 2018 Trial Preparation and
3    Scheduling Order (ECF 749), Qualcomm Incorporated (“Qualcomm”); Apple Inc.
4    (“Apple”); and FIH Mobile Ltd. and Hon Hai Precision Industry Co., Ltd. (together,
5    “Foxconn”), Pegatron Corporation, Wistron Corporation, and Compal Electronics, Inc.
6    (collectively, “the CMs”) submit this joint brief identifying disputed contract provisions
7    and the parties’ respective positions on each provision for the Court’s consideration.
8    Additional contract interpretation disputes may arise prior to, or during trial, and the
9    parties reserve the right to raise such issues as necessary.
10         Qualcomm Introduction.1&2
11         Each of the contracts addressed in this joint brief concerns one of Qualcomm’s two
12   primary businesses, the licensing of its patents and the sale of modem chips.
13         Licensing: Through its business unit, Qualcomm Technology Licensing (“QTL”),
14   Qualcomm licenses its vast portfolio of standard essential patents (“SEPs”) and non-
15   standard essential patents (“NEPs”) relating to cellular and other technologies.
16   Qualcomm makes licenses to its SEPs available on “fair, reasonable and non-
17   discriminatory”, or FRAND, terms pursuant to the commitments it has made to various
18   standard-development organizations (“SDOs”), most importantly the European
19   Telecommunications Standards Institute (“ETSI”), the leading SDO in the cellular
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21     Apple and the CMs object to Qualcomm’s introduction, which contains unnecessary,
     one-sided characterizations of the parties and the issues in this case, and exceeds the
22   scope of the Court’s request for briefing concerning the interpretation of the contracts in
23   this case. Dkt. 749. Apple and the CMs are not responding to these arguments. This
     should not be taken as an admission that Qualcomm’s characterizations are accurate, and
24   Apple and CMs reserve all objections. Where necessary, Apple and the CMs’
25   introductions to the relevant agreements are included in their respective sections below.
     2
       On February 15, 2019, Qualcomm’s counsel informed Apple and the CMs that
26   Qualcomm “will not pursue its claim for breach of the Apple MSA.” Qualcomm
27   Counterclaim XI. As a result, Apple and the CMs are not briefing their interpretation
     disputes with Qualcomm regarding that contract.
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1    communications industry. QTL has licensed its patents to the makers of cellular phones
2    and other devices on FRAND terms for more than 30 years through royalty-bearing
3    patent license agreements often called Subscriber Unit License Agreements (“SULAs”).
4    Qualcomm has negotiated and executed license agreements with hundreds of licensees.
5          Modem Chips: Qualcomm Technologies, Inc. (“QTI”), a subsidiary of
6    Qualcomm, operates a business called Qualcomm CDMA Technologies, Inc. (“QCT”),
7    which is a leading developer and supplier of baseband chips used in cellular devices; at
8    certain times, Apple used chips supplied by Qualcomm in its products. QTI also
9    develops software for use with its baseband chips. Another subsidiary of QTI enters into
10   Component Supply Agreements (“CSAs”) that govern the purchase and use of baseband
11   chips, and QTI enters into Master Software Agreements (“MSAs”) to license the related
12   software. For certain customers, like Apple, Qualcomm also enters into Statements of
13   Work (“SOW”) that govern the development and supply of customized baseband chip
14   solutions. QCT does not charge for IP in pricing its chips; rather, Qualcomm charges for
15   its IP only through QTL’s licenses.
16         Several business agreements have governed the relationship between Qualcomm,
17   on the one hand, and the CMs and Apple, on the other.
18         The CMs: Between 2000 and 2010, Qualcomm entered into SULAs with each of
19   the four CMs. Those agreements license the CMs to practice certain Qualcomm SEPs
20   and NEPs (and other intellectual property) in connection with manufacturing and selling
21   cellular devices for a number of entities, including Apple. QTI, through a subsidiary, has
22   also entered into a CSA with each of the CMs for the baseband chips the CMs purchase.
23   QTI has entered into an MSA with each of the CMs.
24         Apple: When Apple entered the cellular industry in 2007, it chose to outsource
25   manufacturing of its products to the CMs and to rely on the CMs’ existing SULAs with
26   Qualcomm instead of entering into a license agreement of its own. Apple did not use any
27   of Qualcomm’s baseband chips in its devices until 2011. When Apple has used
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1    Qualcomm’s baseband chips in its devices, Apple has required Qualcomm to customize
2    those chips for Apple’s products and directed each CM to purchase them.
3          Qualcomm and Apple have also entered into agreements that have governed
4    various aspects of their relationship, including several addressed in this brief: a
5    Statement of Work, dated February 28, 2013, governing the supply of certain of
6    Qualcomm’s customized baseband modem solutions for Apple’s use and the Business
7    Cooperation and Patent Agreement, dated January 1, 2013.
8          This brief identifies only disputes over the interpretation of certain provisions in
9    the contracts between Qualcomm and Apple and/or the CMs. Importantly, though, the
10   brief does not address contract disputes that turn on something other than how particular
11   provisions should be interpreted. Critically, for example, Qualcomm contends that the
12   CMs have breached their SULAs by not paying any royalties at all owed pursuant to
13   those agreements since Apple sued Qualcomm in January 2017. Although Apple and the
14   CMs contend those agreements are unenforceable, they do not dispute the language of the
15   SULAs requiring the royalties to be paid, and the enforceability of that part of the SULAs
16   does not turn on any disputes regarding the SULA language. As a result, that core issue
17   is not addressed in this brief.
18         Finally, Qualcomm also contends that, with the exception of Qualcomm’s
19   commitments to the SDOs, the contractual provisions discussed in this brief do not
20   warrant jury instructions regarding how they should be interpreted. The provisions are
21   clear, and to the extent the Court determines the provisions are ambiguous, the resolution
22   of that ambiguity should be left to the jury. The Court should decline Apple’s and the
23   CMs’ efforts to seek advisory rulings about their preferred interpretations, which
24   contradict the plain language of the agreements. The Court should also decline Apple’s
25   and the CMs’ efforts to seek what would amount to dispositive rulings on certain of
26   Qualcomm’s claims masked as questions of contract interpretation.
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1         AGREEMENTS BETWEEN THE CONTRACT MANUFACTURERS (“CMs”)
                             AND QUALCOMM
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     I.     Subscriber Unit License Agreements—Between Qualcomm and the CMs
3           (“SULA”)
4           A.    Selling Price (§ 1), Audits/Inspections (§ 14.2) & Late Charge (§ 25)
5                      i.   Apple and the CMs’ Position
6           The terms at the heart of Qualcomm’s claims against the CMs (and its interference
7    claims against Apple) are stated in plain and unambiguous language. And the plain
8    meaning of those provisions undermines Qualcomm’s allegations.
9           First, Qualcomm alleges that, by only paying royalties on consideration received
10   for the physical iPhone and iPad units themselves, the CMs failed to pay royalties on any
11   convoyed or collateral revenue related to those sales. For example, Qualcomm asserts
12   that the CMs failed to pay royalties “on royalties” (i.e., royalties on revenue charged for
13   obtaining IP rights for customers) as well as on any non-recurring engineering (“NRE”)
14   work related to the devices. E.g., No. 17-cv-1010-GPC-MDD, Dkt. 1, ¶¶ 122, 143, 167,
15   190, 215. Qualcomm also alleges that Apple interfered with those payments. E.g., No.
16   17-cv-00108, Dkt. 469, ¶¶ 207, 212–213. But the SULAs define the “Selling Price” on
17   which royalties are calculated (i.e., the royalty base) as only including consideration
18   received “for” the physical phone (i.e., “for each Subscriber Unit in the form in which it
19   is Sold”), not including other services.3 The SULAs do not include collateral revenue
20   related to IP acquisitions or engineering services in the royalty base (i.e., “Selling Price”).
21          Second, Qualcomm alleges that the CMs failed to fully cooperate with “audits”
22   under its SULAs (and that Apple interfered with the same). But the CMs’ SULAs
23   (§ 14.2) expressly limit Qualcomm’s inspection capacity to only those records necessary
24
     3
25     The CMs’ SULAs are provided as Docs. 1-4 (“Doc.” refers to the Joint Contracts
     Compendium). As described below, the definitions of “Selling Price” are identical in
26   each, with the exception that Pegatron’s definition of “Selling Price” includes certain
27   specific NRE charges.

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1    physical cellular device itself—the physical phone. The SULA thus expressly defines
2    the royalty base in the “Selling Price” as the “consideration charged” for the physical
3    phone “in the form in which it is Sold”—i.e., the royalty base is “consideration
4    charged” for a physical iPhone or iPad.
5          Qualcomm asserts that Selling Price captures not just consideration for the physical
6    devices (iPhones), but also amounts the CMs get for collateral services (services related
7    to iPhones), such as for obtaining IP licenses for customers, or for other services like
8    design or repair work, etc. But the SULA royalty base (“Selling Price”) does not state
9    that it covers revenue from convoyed or collateral sales. “Selling Price” is not defined to
10   extend to revenue for other products or services that CMs may also provide customers,
11   just because they are offered in addition to or in relation to iPhone or iPad sales (i.e.,
12   collateral transactions).5 To the contrary, the SULAs explicitly state that, even if
13   “Subscriber Units” are sold in combination with other products or services, the definition
14   of “Selling Price” expressly excludes the “expenses for providing those products or
15   services.” § 1 (emphasis added).6
16         For example, each of the CM’s SULAs defines “Selling Price” without mentioning
17   or including collateral charges that the CMs may bill to customers for acquiring
18   intellectual property rights on their behalf. The CMs’ provision of IP license rights for
19   customers is a collateral service offered in addition to the sale of a Subscriber Unit (i.e.,
20   phone). IP rights are not part of the phone itself—they are not part of the “Subscriber
21
22   5
       Qualcomm’s argument that fees for collateral services are not permitted “deductions”
23   from the “Selling Price” misses the point—collateral services are not included in “Selling
     Price” to start. The CMs are not saying they can deduct royalty or design fees from the
24   price. Those fees are not in the defined royalty base to start. Indeed, Qualcomm tried
25   to—but did not—amend one SULA to encompass the very interpretation it now argues is
     inherent in the language of the existing SULAs.
26   6
       The wording in the Compal SULA is slightly different, but to the same effect.
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1    Unit in the form in which it is sold.” IP rights are neither a physical component of a
2    phone, nor a necessary accompaniment. A phone sold by a CM that practices
3    Qualcomm’s patents and is capable of “initiat[ing] and/or receiv[ing] Wireless
4    telecommunications transmissions” is a Subscriber Unit as Qualcomm defined that term
5    in its SULAs regardless of whether or not a license fee is paid, and regardless of whether
6    the CM charges its customer for acquiring IP rights from Qualcomm or any other
7    licensor. § 1 at “Subscriber Unit.”7
8          Yet, Qualcomm’s view—unsupported by the SULA text—is that, for every dollar
9    paid to it in royalties, it should be paid another 5% royalty on top of its original royalty
10   simply because a CM bills customers for its acquisition of IP related to a phone.
11   Qualcomm’s royalty-on-royalties demand thus taxes its own tax. This levels an effective
12   royalty rate that is higher than the 5% of the value of the “Subscriber Unit” called for in
13   the SULA—5% being charged in the first go-around, and then 5% of that charged again.
14   Qualcomm’s “royalty on royalties” demand is thus not only textually unmoored from the
15   SULA, but it leads to the absurd. See Cal. Civ. Code §1638 (contract interpretation
16   cannot lead to “an absurdity”).
17         For example, if a CM sells Apple a pallet of iPhones valued at $1M, the SULAs
18   state that the CM must remit $50,000 in royalties—the 5% royalty spelled out in § 5.2.
19   But per Qualcomm, if Apple is then charged for and pays the CM’s for having acquired
20   IP from Qualcomm, Qualcomm can demand an added 5% royalty on the cost of that
21   service, and the CM must remit another $2500—a royalty on the original royalty. If
22   Apple is charged for the added fee, the CM must remit another $125. If that is charged to
23   Apple, the CM must remit a check for $6.25, then one for $.31, then another for $.0156
24   and so on without end—royalties on royalties on royalties on royalties on royalties….
25   Notably, this pattern occurs even if the service charges to Apple were for rights from a
26
     7
27     Qualcomm drafted these definitions. Cf. Cal. Civ. Code§ 1654. No doubt, it could
     have drafted Selling Price to include collateral service revenue, but it did not.
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1    third-party licensor, not Qualcomm. There, Qualcomm still asserts that it is entitled to a
2    further 5% royalty on the value of any third-party IP. This stretches well beyond any
3    reasonable reading of the SULAs.8
4          Likewise, with the exception of certain limits for Pegatron, the definition of
5    “Selling Price” does not state that it includes compensation for engineering, repair, or
6    design services, even if convoyed or related to royalty bearing products.9 For example,
7    assume Apple paid a CM an extra $20 per iPhone to repair it should it break, or an extra
8    $10 per phone to disassemble it for recycling at the end of its life. While these would be
9    collateral transactions “related to” the phone sale, they would not constitute
10   “consideration … for each Subscriber Unit”—the extra charges would be consideration
11   for repair or recycling services that are not royalty bearing under the SULA definition of
12   “Selling Price.” Yet, Qualcomm would charge a royalty on these transactions
13   notwithstanding that they are unrelated to Qualcomm’s patents.
14         Similarly, assume Apple engaged a CM to design a new exterior shell for a future
15   iPhone, paying the CM’s engineering cost. Paying the CM for design services would not
16   be consideration for a “Subscriber Unit in the form in which it sold”—it would be
17   compensation for design services. But under Qualcomm’s overreading of the SULA, it is
18   entitled to a 5% tribute on all monies a CM receives for any of the above services if those
19   services relate to a phone, regardless of whether such activity is covered by its patents
20   or related to a cellular standard. If an engineering project costs $10 million, Qualcomm
21
22   8
       Qualcomm’s touted X/(1-5%) formula ignores that the SULA does not require royalties
23   on royalties in the first instance and yields a royalty above the SULA’s 5%.
     9
       Pegatron’s SULA includes in its “Selling Price” that the “payment of non-recurring
24   charges for design or tooling” that are specifically tied to and charged for a Subscriber
25   Unit. This speaks volumes of its omission in other SULAs. Qualcomm could have
     drafted other SULAs with the same language. Regardless, even Pegatron’s “Selling
26   Price” does not state that royalty on royalties are owed and does not include collateral IP
27   acquisition services in the “Selling Price” royalty base.

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1    demands a $500,000 windfall.10
2          The express language here—“the gross selling price and/or value of other
3    consideration charged by the LICENSEE … for each Subscriber Unit in the form in
4    which it is Sold”—is reasonably susceptible to only one meaning: the consideration
5    charged for the physical device. It cannot stretch to cover convoyed, collateral, or related
6    sales of other services, and especially in light of the express statements in the SULA to
7    the contrary. To support its claim that it is owed royalties on collateral fees or services,
8    Qualcomm therefore must ignore the express exclusion of other products or services from
9    the SULAs’ Selling Price and instead construe “Selling Price” to stretch to any amounts
10   or services “related to” a CM’s manufacture of a “Subscriber Unit” (i.e., not just
11   consideration “for” the Unit itself). Qualcomm essentially seeks to redraft “Selling
12   Price” as “the gross selling price and/or value of other consideration charged by the
13   LICENSEE … for, collateral to, or related to, each Subscriber Unit in the form in which
14   it is Sold,” also striking any later language addressing collateral services.11
15         But “when courts construe an instrument, a judge is not to insert what has been
16
     10
17       Qualcomm misleadingly suggests its windfall is softened by a royalty cap of $20
     ($400 x 5%). But this cap—which Qualcomm asserts it can end any time—applies per
18   phone. Qualcomm has never agreed this cap limits its claim that it is owed 5% of all
19   iPhone-related CM engineering fees to $20 per engineering event. Qualcomm has
     demanded via audits 5% of all such collateral service fees without such limit.
20   11
         While Qualcomm may argue that redrafting avoids gamesmanship, such as a CM
21   overcharging for collateral or related services while undercharging for phone units,
     Qualcomm has not alleged that this ever occurred. Moreover, redrafting is unnecessary
22   to address pricing gamesmanship, as the implied covenant of good faith and fair dealing
23   is available to remedy any effort to suppress a phone’s sales price.
         Qualcomm also argues that, absent a non-textual construction, CMs will game
24   “Selling Price” by selling phones as multiple components. But the SULA bars this in
25   § 5.1, which prohibits CMs from selling “Components” they do not design. Components
     are also still a physical part of a phone, not collateral services. No reference to
26   “component” in the SULA suggests it includes collateral services. To the contrary, § 1
27   explicitly defines “Components” as physical chip-based circuits.

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1    omitted, or to omit what has been inserted.” E.g., Edwards v. Arthur Andersen, LLP, 44
2    Cal. 4th 937, 954 (2008) (quote omitted). “[T]he office of the Judge is simply to
3    ascertain and declare what is in terms or in substance contained therein, not to insert what
4    has been omitted, or to omit what has been inserted….” Cal. Code Civ. Proc. § 1858.
5    Nor are courts “empowered to make for the parties a contractual arrangement which they
6    did not see fit to make themselves,” nor to “write into [an] agreement a provision which
7    the parties did not make.” Apra v. Aureguy, 55 Cal. 2d 827, 830 (1961). In sum, a court
8    “cannot insert in the contract language which one of the parties now wishes were there.”
9    Levi Strauss & Co. v. Aetna Cas. & Surety Co., 184 Cal. App. 3d 1479, 1486 (1986).
10         Qualcomm is thus left with no textual basis for its asserted interpretation of the
11   “Selling Price” definition.12 Indeed, rather than explain how the text justifies its
12   interpretation, Qualcomm instead makes a non-textual reading that relies almost solely on
13   its cherry-picked extrinsic evidence (much of which is taken out of context).13 But, under
14   California law, extrinsic evidence cannot used to alter the terms of the SULAs, which
15   Qualcomm concedes below are integrated contracts (§ 27). As the California Supreme
16   Court has held, “extrinsic evidence may not be relied upon to alter or add to” an
17
18   12
         Qualcomm’s observation that “Selling Price” is agnostic as to whether the phone is
19   sold assembled or not is irrelevant. The parties agree that Selling Price covers the
     physical phone whether sold in one, two, or ten pieces, or missing a piece (like a battery).
20   This in no way suggests that the royalty base extends to collateral services beyond the
21   physical phone. Nor does deducting for items like shipping or packaging costs for the
     physical phone suggest that separate collateral services for engineering, design, repair
22   work, recycling or IP are included in the royalty base in the first place.
     13
23       For example, Qualcomm appears to argue that the CMs pay “royalties on royalties” if
     they charge customers a flat price without also charging any IP service fee. As an initial
24   matter, this extrinsic evidence argument should be disregarded; extrinsic evidence cannot
25   be used to vary the terms of a written contract. Regardless, the argument also misses the
     point. Whether the CMs do not charge separate IP fees with some contracts is irrelevant.
26   It does not evidence that the SULA’s “Selling Price” definition requires a royalty be
27   remitted on collateral fees if they are charged (particularly given that requiring such is
     contrary to the express terms of the SULA).
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1    integrated contract. Riverisland Cold Storage v. Fresno-Madera Prod. Credit Ass’n, 55
2    Cal. 4th 1169, 1174 (2013); see also Thrifty Payless, Inc. v. Mariners Mile Gateway,
3    LLC, 185 Cal. App. 4th 1050, 1061 (2010) (cannot be used to “vary or contradict”); Grey
4    v. Am. Mgmt. Servs., 204 Cal. App. 4th 803, 809 (2012) (same). “[E]xtrinsic evidence
5    inconsistent with any interpretation to which the instrument is reasonable susceptible
6    becomes irrelevant[.]” Tahoe Nat’ Bank v. Phillips, 4 Cal. 3d 11, 23 (1971).
7          Where, as here, “contract language is clear and explicit and does not lead to absurd
8    results, [courts] ascertain intent from the written terms and go no further.” Ticor Title
9    Ins. v. Employers Ins. of Wausau, 40 Cal. App. 4th 1699, 1707 (1995). Thus, the Court
10   should construe the SULAs as assessing a royalty on the physical device, not on
11   collateral or related services, such as fees for providing IP rights.
12                       2.     The Scope of the SULA Audit/Inspection Allowance (§ 14.2)
13         Qualcomm’s view of the SULA’s allowance for “audits” of the CMs also departs
14   from its text. Per § 14.2, the SULAs expressly limit Qualcomm’s inspection allowance to
15   “applicable books and records” “to confirm that LICENSEE has not underpaid the
16   royalties due to QUALCOMM in fulfilling its obligations under the terms and conditions
17   set forth in Section 5.2 above” (i.e., to confirm that the CM did not underpay royalties).
18   § 14.2. Section 14.2 then states the CM has to provide “necessary books and records for
19   such audit to be carried out” (emphasis added), not all records.
20         This provision means what it says—Qualcomm can inspect records as “necessary”
21   to “confirm that LICENSEE has not underpaid the royalties due.” Qualcomm, however,
22   contends that the SULA authorizes it not only to “confirm that LICENSEE has not
23   underpaid” but that it can inspect any CM records or Apple records in the CMs’
24   possession even if not needed for that purpose, so long as they relate to iPhones or iPads.
25   In fact, Qualcomm appears to contend that, once an audit’s stated goal is achieved, § 14.2
26   allows it to continue to inspect whatever records it desires. Qualcomm has cited § 14.2
27   to demand confidential data from Apple and the CMs despite that data being irrelevant to
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1    the royalty owed.
2          Qualcomm is wrong that interpreting § 14.2 should be left to the jury.
3    Interpretation is for a jury only if a term is ambiguous, and § 14.2 is not ambiguous.
4    After the Court construes § 14.2, factual questions of if the CMs gave Qualcomm access
5    to records reasonably needed to confirm royalty payments can be decided by the jury, as
6    will whether Qualcomm’s demands overstepped § 14.2. Qualcomm’s factual argument
7    below conflates construction (Court) with application (jury).
8          In sum, Qualcomm’s view that § 14.2 affords it a fishing license to inspect records
9    concerning Apple products is untethered to the text and renders surplusage its stated
10   purpose and limit—“to confirm that LICENSEE has not underpaid the royalties due.”
11   See, e.g., Boghos v. Certain Underwriters at Lloyd’s of London, 36 Cal. 4th 495, 503
12   (2005) (rule against rendering terms “surplusage”). But the plain-language reading that
13   Apple and the CMs request the Court to confirm allows Qualcomm access to records as
14   reasonably needed to confirm royalty payments for product units (but not beyond), and
15   tracks the provision’s express wording.
16                       3.    The Scope of the SULA Late Charge Provision (§ 25)
17         Qualcomm asserts that, per § 25 of the SULAs, it is owed over $1.3 billion in late
18   charges (i.e., 1.5%/mo., compounding, on disputed royalties). But this demand is
19   unrelated to Qualcomm’s actual or foreseeable damages and ignores restrictions
20   expressly stated in the underlying provision, rendering this demand unenforceable.
21         Foxconn’s, Pegatron’s, and Wistron’s SULAs expressly state that “[t]he Parties
22   agree that such late charges are administrative in nature and are intended to defray each
23   Party’s costs in processing and handling late payments.” § 25 (emphasis added). The
24   provision is also expressly limited to “the maximum amount permitted by law” Id.14
25   Thus, any “late charge” here must be construed as limited to “to defray[ing]”
26
     14
27     Contrary to Qualcomm’s view, the parties did not agree to a per se 1.5%/mo.
     compounding fee. The fee is expressly limited to that “permitted by law.”
28                                                                 Case No. 17-cv-0108-GPC-MDD
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1    Qualcomm’s “costs in processing and handling late payments.”
2          In California, “[a] contract must be so interpreted as to give effect to the mutual
3    intention of the parties as it existed at the time of contracting, so far as the same is
4    ascertainable and lawful.” Civ. Code § 1636; see also id. §§ 1639, 1648. Where, as here,
5    the contract contains a clear statement of intent, that statement controls. Ticor Title, 40
6    Cal. App. 4th at 1707 (“Where contract language is clear and explicit . . . , we ascertain
7    intent from the written terms and go no further.”). Qualcomm agreed these late charges
8    were “administrative” to “defray” “costs in processing and handling.” Thus, the intent
9    and scope of the provision expressly excludes compensating for any time-value of money
10   and disclaims using fees to encourage (or coerce) timely performance.15
11         Yet Qualcomm has demanded that Foxconn, Pegatron, and Wistron pay $1.3
12   billion in late charges, a number disconnected from any “processing and handling”
13   expense Qualcomm could have incurred (much less foreseen) as a result of any possible
14   late payment. Qualcomm’s late “processing” charge—1.5%/month of any disputed
15   amount, compounding—increases dramatically with the amount of the tardy payment and
16   with the passage of time. It therefore increases unconnected to the express administrative
17   purpose of the provision. The late charge thus operates “without regard to the damages
18   sustained by the party aggrieved” and therefore constitutes a “penalty provision [that]
19   operates to compel performance.” Ridgley v. Topa Thrift & Loan Ass’n, 17 Cal. 4th 970,
20   977 (1998) (quoting Garrett v. Coast & So. Fed. Sav. & Loan Ass’n, 9 Cal. 3d 731, 739
21   (1973)). This is an illegal, unenforceable liquidated damages penalty barred by Cal.
22   Civ. Code § 1671(b).16
23
24   15
        Thus, Qualcomm’s cases are inapposite—none involved express disclaimers or
25   statements of intent limiting the purpose of the provision as in the SULAs. To the
     contrary, its cited cases involve provisions that contemplated compensating for lost
26   profits or a time value of money, neither of which is allowed under SULA § 25.
     16
27      That Qualcomm’s late charge provision is unenforceable does not affect Qualcomm’s
     ability to sue for and recover actual damages from an alleged breach.
28                                                                   Case No. 17-cv-0108-GPC-MDD
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1          To be valid, liquidated damages “‘must represent the result of a reasonable
2    endeavor by the parties to estimate a fair average compensation for any loss that may be
3    sustained.’” Ridgley, 17 Cal. 4th at 977 (quoting Garrett, 9 Cal. 3d at 739). That
4    standard cannot be met here. As the California Supreme Court has held, if, as here, a late
5    fee provision charges an amount “disproportionate to the anticipated damages,” that
6    provision is unenforceable. Id. (quote omitted). “The characteristic feature of a penalty
7    is its lack of proportional relation to the damages which may actually flow from failure to
8    perform under a contract.’” Id. (quoting Garrett, 9 Cal. 3d at 739). Like here, “‘[i]n the
9    absence of such a relationship, a contractual clause purporting to predetermine damages
10   ‘must be construed as a penalty.’” Id.
11         The unenforceability of the SULA late charge is well illustrated by the similar
12   provision in Poseidon Dev., Inc. v. Woodland Lane Estates, LLC. Like here, the stated
13   purpose of that late charge “was to compensate [the non-breaching party] for
14   administrative expenses” and “never intended to compensate [the party] for the loss of
15   use of the money due.” 152 Cal. App. 4th 1106, 1115 (2007). Like here, that late charge
16   scaled up depending on the amount of the overdue payment. But the court held that
17   “[t]here is no reason to believe that processing and accounting expenses caused by failure
18   to make an installment payment would vary appreciably depending on the amount of the
19   overdue payment.” Id. Thus, the court held that the upwardly scaling charge—in that
20   case, a $77,614 fee for liquidated “administrative expenses”—“could not possibly be
21   considered a reasonable estimate of the damages contemplated by a breach” and was
22   therefore “an unenforceable penalty.” Id.
23         Here, Qualcomm seeks over $1.3 billion in upwardly spiraling, compounding fees
24   as liquidated damages for supposed “administrative” costs for “processing and
25   handling.”17 This scaling, compounding late fee cannot, under any view, constitute “a
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     17
27      The actual amount of Qualcomm’s punitive late charge is much higher. $1.3B was
     calculated as of June 2018, and Qualcomm contends it continues to compound.
28                                                                 Case No. 17-cv-0108-GPC-MDD
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1    reasonable attempt to estimate actual administrative costs incurred” when the SULAs
2    were made. Thus, it is unenforceable. Id. at 1116; Civ. Code § 1671(b).
3                        ii.    Qualcomm’s Position
4                          1.     The Definition of “Selling Price” in the SULA (§ 1)
5             Qualcomm entered into SULAs with the CMs in 2000 (Compal), 2005 (Foxconn),
6    2007 (Wistron), and 2010 (Pegatron). Pursuant to those long-standing agreements, the
7    CMs are obligated to pay royalties to Qualcomm on both Apple and non-Apple devices.
8    In exchange, the SULAs provide the CMs with rights to practice Qualcomm’s cellular
9    patents for the specified standards. Each CM has breached its SULA by refusing to pay
10   Qualcomm the royalties owed under that agreement for the last two years. None of the
11   issues raised regarding the interpretation of the SULA provisions in this brief addresses
12   that fundamental breach claim, which will be an issue for the jury at trial.
13            The royalties due under each CM’s SULA are calculated as a percentage of the
14   wholesale selling price of the relevant device (e.g., iPhones or iPads)—that is, the
15   consideration charged by the CM to its customer. The selling price is defined to be
16   inclusive: “gross selling price and/or value of other consideration charged by the
17   LICENSEE [CM] or its final vendee Related Buyer for each Subscriber Unit” with only
18   specific delineated deductions for direct packing costs, insurance/transportation costs,
19   and certain tax-related costs (such as import and export taxes). (See, e.g., App’x Doc.
20   No. 3 at 7-8.)18 Qualcomm uses an inclusive selling price definition with carefully
21   limited deductions to prevent gamesmanship. If it did not, a manufacturer could break
22   the phones it sells into hundreds of separate transactions to reduce artificially the
23   “selling” price—and thereby Qualcomm’s royalties. (Ex. 39 at 271:1-272:9.) Qualcomm
24   contends that Section 1 of the SULAs is clear on its face.
25            The CMs’ arguments are an attempt to avoid the plain language of the contracts to
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         18
27            “Ex.” refers to exhibits attached to the Declaration of Anders Linderot.
28                                                                    Case No. 17-cv-0108-GPC-MDD
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1    which they agreed. Applying facts to the contract language is for the jury. See Stetson v.
2    Savenet, 1988 WL 86214, at *2 (9th Cir. Aug. 10, 1988).
3          First, the CMs argue that they can exclude from the consideration they receive
4    from Apple amounts labeled as reimbursements for Qualcomm’s royalties. For many of
5    their customers, the CMs simply charge a single price to the customer for the
6    manufacture of phones and other devices. Baked into that price is whatever amount of
7    Qualcomm’s royalty charge they wish to pass along. (See, e.g., Ex. 33 at 89:22-24
8    (“There is no separate payment from the customer—Dell, HP, and VAIO—for the royalty
9    amount we pay to Qualcomm.”); Ex. 31 at 130:2-20 (“[O]nce customer has reached
10   agreement with us about the quoted price, and they will pay the invoice price . . . Royalty
11   is our cost. That means our cost includes royalty also.”). For those customers, the CMs
12   have complied with the plain language of “Selling Price”. At Apple’s request, however,
13   the CMs charge Apple one price for the device and a separate price for the Qualcomm
14   royalty on that device. (See, e.g., Ex. 33 at 90:18-19; Ex. 48 at 211:16-3.) Based on that
15   separation of payments, the CMs have frequently refused to include in the selling price of
16   Apple devices the separate consideration paid for royalties. But the language of the
17   SULAs is clear—however and whenever charged, royalties constitute consideration
18   charged for the device and must be included. And the CMs have in fact stated that they
19   have paid royalties based on this consideration received from Apple previously. For
20   example, during Qualcomm’s audit of Foxconn in 2015, Foxconn told Qualcomm’s
21   auditors that the “selling price” for Apple devices “includes the costs of royalties paid to
22   Qualcomm”. (Ex. 17 at ’0527.)
23         The CMs argue that the royalty base is “consideration charged” for a “physical”
24   device. But that is not what the SULA says. In the definition of “Selling Price”, the
25   phrase “in the form in which it is sold” is immediately explained by a parenthetical:
26   “whether or not assembled and without excluding therefrom any Components or
27   subassemblies thereof which are included with such Subscriber Unit”. It confirms that
28                                                                  Case No. 17-cv-0108-GPC-MDD
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1    the definition of Selling Price is agnostic as to the form in which the phone is sold—
2    assembled or not. It broadens, rather than limits, the definition. Similarly, the limited
3    deductions allowed by the SULA include several intangible items like taxes and custom
4    duties. That the parties agreed to deduct some intangible items—but not others like labor
5    costs, the CMs’ “value added” costs, or various IP costs—demonstrates that those other
6    charges must be included in the Selling Price, like any other production cost. The CMs
7    propose a regime by which they pick and choose certain of their production costs and
8    unilaterally exclude them from the selling price. The SULAs offer no basis to do so, or
9    to treat royalty costs differently from any other cost.19
10            The CMs also argue that including royalties in the selling price would cause a
11   calculation “without end”. But that is wrong, as Qualcomm explained to the CMs; if a
12   CM wishes to recover $100 from its customer, it should price a Subscriber Unit at
13   $100/(1-the royalty rate). (Ex. 14 at ’5176-77; Ex. 49 (Siemens explaining Foxconn
14   should use this same method of calculation regarding its royalties).)
15            Second, the CMs also argue they should be allowed to deduct certain non-recurring
16   engineering (“NRE”) costs from the consideration they receive from Apple before
17   calculating royalties. The particular engineering costs at issue are those that they charge
18   to Apple in connection with a particular iPhone or iPad. (Ex. 29 at 61:3-8.) The
19   definition of Selling Price in the SULAs, therefore, includes these amounts because they
20   are “consideration charged by the [CM]” to Apple for iPhones and iPads. In fact,
21   Pegatron explicitly agreed that such amounts are part of the “Selling Price” when it
22   signed its SULA. The Pegatron SULA defines “Selling Price” as “the gross selling price
23   and/or value of other consideration (e.g., without limitation, the value of consignment
24
         19
25         The CMs point to language in the SULAs addressing instances where Subscriber
     Units are combined with other “products and services”. But they ignore the actual
26   language, which is “separate and distinct products or services”. (emphasis added.) That
27   has no bearing on production costs like the IP costs or engineering expenses.
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1    compliance with its SULA because the CM withheld necessary information. (See, e.g.,
2    Ex. 15 at ’8314-’17; Ex. 11 at ’0354-57; Ex. 13)
3             That Qualcomm has the right to access “applicable books and records” necessary
4    to confirm that each CM was not “underpaying” royalties is clear. What records are
5    “applicable” to that inquiry is a fact question for the jury. See Stetson, 1988 WL 86214 at
6    *2 (“resolution of the meaning of the contract is a function for the finder of fact”). It
7    requires the assessment of the facts about each individual audit and the information
8    provided by the CMs. (Ex. 39 at 54:17-21.)
9             The CMs do not explain how they believe the audit provision should be
10   interpreted, beyond what the plain language says. They simply assert that Qualcomm
11   should not have access to certain categories of information—such as “product sales in
12   different countries”—because such information is, in their view, “irrelevant to the royalty
13   owed”. But that information is, in fact, required to be provided under the terms of the
14   SULAs. Section 14.1 requires each CM to provide Qualcomm a certificate (in the form
15   attached as Exhibit B to the SULA) showing certain royalty-related information,
16   including the “Country of Sale by [CM] and Affiliates”. (E.g., App’x Doc. 3 § 14.1, Ex.
17   B.) And it is a reasonable audit request—as determined by independent auditors; for
18   example, it allows comparisons to industry reports to verify sales. (Ex. 39 at 42:2-15). In
19   short, this is a fact issue for the jury.
20                         3.     The Scope of the Late Charge Provision (§ 25)
21            Since late 2016, the CMs have withheld, in aggregate, more than $7 billion20 in
22   royalty payments due under their SULAs for the devices they have manufactured and
23   sold to Apple. Section 5.2 of each SULA requires payment of royalties by the CM
24   “within thirty (30) days after the end of each calendar quarter”. Each CM agreed that if it
25   fails to make any payment due under the SULA, Qualcomm may impose a late charge
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         20
27            Final amounts owed will be calculated at the time of trial.

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1    “equal to the lesser of one and one-half percent (1 1/2%) per month, pro-rated, or the
2    maximum amount permitted by law.”21 (E.g., App’x Doc. No. 3 § 25.) The parties
3    agreed that the late charge amount of 1.5% per month was not a penalty, but rather was
4    “administrative in nature” and “intended to defray each Party’s costs in processing and
5    handling late payments”. (§ 25.) Such provisions are routine and routinely enforced.
6    See, e.g., Xnergy Fin. LLC v. Champion Pain Care Corp., 2017 WL 7156284, at *6 (C.D.
7    Cal. Oct. 5, 2017) (enforcing 1.5% per month late charge); Intelepeeler Cloud Comms.,
8    LLC v. Explore Travels Corp., 2016 WL 4699731, at *6 (N.D. Cal. Aug. 19, 2016)
9    (same), report and recommendation adopted by 2016 WL 4699731 (N.D. Cal. Sep. 6,
10   2016). The CMs’ position on the late fee provision—raised for the first time in this
11   brief—is tantamount to a motion for summary judgment. Even if the CMs had timely
12   moved (which they did not), their position is without merit. Under Section 25, which is
13   clear on its face, Qualcomm is entitled to late fees.
14            Under California law, a late fee provision is “valid unless the party seeking to
15   invalidate the provision establishes that the provision was unreasonable at the time the
16   contract was made”. Cal. Civ. Code § 1671(b) (emphasis added). A liquidated damages
17   clause is only unenforceable if it “bears no reasonable relationship to the range of actual
18   damages that the parties could have anticipated would flow from a breach” and should
19   instead “represent the result of a reasonable endeavor by the parties to estimate a fair
20   average compensation for any loss that may be sustained”. MGSY Corp. v. LiveUniverse
21   Inc., 2010 WL 11596708, at *7 (C.D. Cal. Feb. 25, 2010). The burden is on the party
22   challenging the provision. See Radisson Hotels Intern., Inc. v. Majestic Towers, Inc., 488
23   F. Supp. 2d 953, 959 (C.D. Cal. 2007); Cal. Civ. Code § 1671(b).
24            A 1.5% per month late fee has been upheld as valid and enforceable. In O’Connor,
25   a California Court of Appeal upheld a provision in a contract that subjected past due
26   invoice payments to a “late charge of 1 1/2% per month”. O’Connor v. Televideo System,
27       21
              Although the CMs use the word “compounding” no fee is charged on accrued fees.
28                                                                    Case No. 17-cv-0108-GPC-MDD
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1    Inc., 218 Cal. App. 3d 709, 719 (Cal. Ct. App. 1990). The party seeking to avoid the fee
2    in that case could not establish that the provision—nearly identical to the one found in the
3    SULAs—“was unreasonable under the circumstances existing at the time it was made”.
4    See O’Connor, 218 Cal. App. 3d at 719; see also Fox v. Federated Department Stores,
5    Inc., 156 Cal. Rptr. 893, 905 (Cal. Ct. App. 1979) (holding that 1.5% monthly late charge
6    is a “reasonable endeavor” to fix “probable loss resulting from delinquent payments”).22
7            The CMs argue that the Court should ignore the rate in the contract and instead
8    calculate a new one (or discard it entirely) because they believe the total amount of late
9    fees they owe today is too high. But the burden is on the CMs to demonstrate it was
10   unreasonable “at the time it was made”. See Cal. Civ. Code § 1671(b) The total amount
11   accrued now has no bearing on the reasonableness of the provision at the time it was
12   agreed. The CMs owe a significant amount of late fees only because they have refused to
13   make royalty payments for Apple products entirely for more than 2 years while still
14   continuing to manufacture and sell those devices. Thus, the CMs have continued to reap
15   the benefits of Qualcomm’s technology while paying nothing for it at all. Had the CMs
16   continued to pay while Apple sued Qualcomm (or stopped manufacturing and selling
17   Apple devices), they would owe no late fees. The CMs’ flagrant breach—and choice to
18   profit at Qualcomm’s expense—cannot be used retroactively to invalidate a reasonable
19   late charge provision; and it says nothing about whether the provision was reasonable at
20   the time of contracting. The CMs have done nothing to satisfy their burden.
21           B.    Integration Clause (§ 27)
22                      i.   Qualcomm’s Position
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           The CMs’ cases do not support their position. In Ridgley, the provision invalidated
24   was a late fee that required six months of interest to be paid on a single late payment.
25   Ridgley v. Topa Thrift and Loan Ass’n, 17 Cal. 4th 970, 981 (Cal. 1998). In Poseidon
     Development, the parties agreed that a late charge of 10% was reasonable as applied to a
26   loan’s installment payments. Poseidon Development Inc. v. Woodland Land Estates,
27   LLC, 152 Cal. App. 4th 1106, 1114-15 (Cal. Ct. App. 2007). The disagreement was the
     application of that charge to a balloon payment.
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1            Although the CMs have operated under the SULAs for many years (and continue
2    to pay royalties for non-Apple products), they now contend that Qualcomm is in breach
3    of its FRAND commitments because the terms of the SULAs are “unfair and
4    unreasonable”. (CMs’ Counterclaims ¶¶ 352-66.) The CMs further allege that, because
5    they are third-party beneficiaries of Qualcomm’s FRAND commitments, the Court can
6    invalidate the SULAs on the basis of those FRAND commitments. (Id., Prayer at T-U)
7    Both contract claims are barred by the plain language of the integration clause found in
8    each CM SULA. Qualcomm contends these provisions are clear.
9            Section 27 of each SULA contains an integration provision stating that the SULA
10   “supersede[s] and replace[s] all prior and contemporaneous oral or written
11   understandings between the Parties with respect to the subject matter thereof and
12   constitute the entire agreement of the Parties with respect to such subject matter”. (See,
13   e.g., App’x Doc. No. 3 § 27.) The Pegatron SULA confirms that the understandings
14   include any third party beneficiary contract, such as Qualcomm’s FRAND commitment,
15   “without limitation . . . being a beneficiary of an understanding in accordance with a prior
16   agreement between any third party and one of the Parties to this Agreement”. (See § 27
17   (emphasis added).)23 Each of the SULAs has a choice of law provision stating that the
18   agreement will be governed by and construed in accordance with California law. (E.g.,
19   App’x Doc. No. 3 § 23.)
20           California courts consistently give effect to integration clauses, holding that
21   evidence of prior agreements may not be introduced or added to vary the obligations of
22   the parties as established in the integrated agreement. See Grey v. American Servs., 204
23   Cal. App. 4th 803, 809 (Cal. Ct. App. 2012) (“[T]he parol evidence rule generally
24   prohibits the introduction of extrinsic evidence—oral or written to vary or contradict the
25      23
           The CMs argue that integration clauses cannot apply to third party contracts. That
26   is wrong. The cases they cite stand for the proposition that a third party’s rights cannot
27   be waived by a contract they are not party to. See Silver v. Goldman Sachs Group, Inc.,
     2011 WL 1979241, at *3 (C.D. Cal. May 19, 2011). The CMs are parties to the SULAs.
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1    terms of an integrated written instrument”.); see also Founding Members of the Newport
2    Beach Country Club v. Newport Beach Country Club, Inc., 109 Cal. App. 4th 944, 954-
3    55 (Cal. App. 4th Dist. 2003).
4            The integration clauses in each SULA states that the terms and conditions of the
5    SULA “supersede and replace” any other understanding with regard to the subject matter
6    of the SULAs. The subject matter of each SULA clearly includes the licensing of
7    Qualcomm’s patents, including its SEPs. (See, e.g., App’x Doc. 3 at 1 (“LICENSEE
8    desires to obtain a license to QUALCOMM’s Intellectual Property to manufacture and
9    sell Subscriber Units”24.).) Therefore, the SULAs are the entire and only agreements
10   governing the patents licensed thereunder and there can be no post-signing claim under
11   any other contract (such as the ETSI IPR Policy) regarding the licensing of those patents.
12           This result is consistent with French law, which the parties agree governs the ETSI
13   IPR Policy, even in the absence of an integration clause. As a matter of French law, by
14   executing license agreements with Qualcomm, the CMs received the benefit of their
15   status as third-party beneficiaries, and Qualcomm’s obligation under the FRAND
16   commitment was discharged. See QC’s 44.1 Motion.
17           That the SULAs are the only agreements governing the patents licensed thereunder
18   is fatal to any claim by the CMs that the SULAs violate Qualcomm’s FRAND
19   commitments. The CMs, through the integration clauses, agreed that the SULAs
20   superseded Qualcomm’s FRAND commitments and, from the moment of signing, those
21   commitments no longer applied to the CMs. In other words, the CMs were third party
22   beneficiaries to Qualcomm’s FRAND commitment with respect to the licensing of its
23   SEPs. When Qualcomm later agreed to license its SEPs to each CM, that agreement,
24   “supersede[d] and replace[d]” any prior agreement, including the FRAND commitment.
25           The CMs mistake several fundamental points. First, the integration clause does
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        24
27        The SULAs refer to the covered SEPs as “Technically Necessary IPR”. (See, e.g.,
     App’x Doc. 3 at 7.)
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1    not bar antitrust claims or other claims for invalidity of the SULAs on, for example,
2    public policy grounds. It merely means that the CMs agreed that the SULAs were the
3    “entire Agreement of the Parties with respect to such subject matter”, and therefore, as a
4    matter of basic contract law, they cannot enforce Qualcomm’s prior FRAND
5    commitment because it was superseded. (§ 27.) For that reason, all of the cases the CMs
6    cite regarding invalidity are irrelevant.
7             Second, the CMs argue that Qualcomm’s FRAND commitment and the SULAs do
8    not cover the same subject matter. But the former is a commitment to license certain
9    patents; the latter are the actual licenses to those patents. The subject matter of both is
10   licenses to Qualcomm’s patents. The CMs cannot both allege that the SULAs violate
11   Qualcomm’s FRAND commitment and that they do not cover the same subject matter.
12   Proceeding from that flawed premise, the CMs cite a number of cases that stand for the
13   unremarkable proposition that the superseded agreement and the current agreement have
14   to overlap for the integration provision to be relevant. For example, in Cione, the court
15   held that the integration clause in an employment agreement did not apply to a prior
16   arbitration agreement because the employment agreement was silent as to dispute
17   resolution. Cione v. Foresters Equity Servs. Inc., 58 Cal. App. 4th 625, 637 (Cal. Ct.
18   App. 1997). In contrast, Qualcomm’s obligation to offer FRAND terms and the terms it
19   offered—both for patent licenses—clearly address the same subject.25
20            Finally, it is the CMs’ proposed interpretation, not Qualcomm’s that leads to an
21   absurd result. The CMs argue they could sign license agreements with Qualcomm, enjoy
22   the benefits of those agreements for years, and then sue to invalidate them on the grounds
23   that they are contrary to another, prior contract (the FRAND commitment) that was about
24   the same subject matter and was superseded by the license agreement. The CMs had two
25   choices: sue Qualcomm for breaching its FRAND obligations before signing a SULA, or
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         25
27        When a contracts overlap in subject matter, courts enforce integration clauses. See
     Grey v. Am. Mgmt. Servs., 204 Cal. App. 4th 803, 807-08 (2012).
28                                                                   Case No. 17-cv-0108-GPC-MDD
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1    sign and release that potential claim. They chose the former and as sophisticated parties
2    with legal counsel they “should be held to their agreement”. See Battaglia Enterprises,
3    Inc. v. Superior Court, 215 Cal. App. 4th 309, 318 (Cal. Ct. App. 2013).
4                     ii.   Apple and the CMs’ Position
5          Integration clauses limit the use of evidence of prior agreements to vary the terms
6    of an agreement. E.g., Thrifty, 185 Cal. App. 4th at 1061. The SULA clauses thus limit
7    extrinsic evidence from altering the terms of those SULAs. They do not alter the separate
8    promises Qualcomm made to SSOs or waive CM claims or rights.
9          No Integration Clause Ever Bars Evidence of Contract Invalidity. No integration
10   clause can prevent the CMs from using anticompetitive conduct (including FRAND
11   violations) to demonstrate that the SULAs are unenforceable as Qualcomm proposes.26
12   California law always allows evidence to show that a contract is invalid. Code Civ. Proc.
13   § 1856(f); Riverisland, 55 Cal. 4th at 1174.
14         The Integration Clauses Do Not Affect Third-Party SSO Agreements. The
15   integration clauses, by their own terms, integrate all “prior and contemporaneous . . .
16   understandings by or between the Parties.” § 27 (emphasis added). The clauses do not
17   mention agreements with other entities. Thus, they do not affect (much less nullify)
18   rights from third-party contracts, including those to which the CMs are third-party
19   beneficiaries.27 E.g., Silver v. Goldman Sachs Group, Inc., 2011 WL 1979241 *3 (C.D.
20
     26
21      Qualcomm’s reading only evidences its monopoly power and anticompetitive conduct.
     Licensees in a competitive market would not willingly self-gag and surrender the right to
22   fair licensing treatment, as Qualcomm contends occurred here. This view, evidencing
23   monopoly power and protecting Qualcomm’s practices from legal scrutiny, thus renders
     these clauses unenforceable as a matter of public policy. A contract “must receive such
24   an interpretation as will make it lawful.” Cal. Civ. Code § 1643. Thus, the Court cannot
25   adopt Qualcomm’s interpretation here.
     27
        Although Pegatron’s clause references “being a beneficiary of an understanding in
26   accordance with a prior agreement between any third party and one of the Parties to [the
27   SULA],” that modifies the phrase “understandings by or between the Parties.” The clause

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1    Cal 2011) (integration clause limited to parties); see also Cal. Civ. Code§ 1654
2    (“uncertainty” must be “interpreted most strongly against” Qualcomm, the drafter);
3    Ballard v. MacCallum, 15 Cal. 2d 439, 444 (1940) (interpretation that “avoids forfeiture
4    must be made if it is at all possible”).28
5          Dispositive here, Qualcomm’s argument has been rejected by the California Courts
6    of Appeal. In Cione v. Foresters Equity Servs., an employer entered an employment
7    contract with Cione containing an integration clause substantively identical to those
8    asserted by Qualcomm. 58 Cal. App. 4th 625, 636–37 (1997). The employer was also a
9    beneficiary of an earlier third-party contract requiring Cione to arbitrate disputes based
10   on his separate promise to the NASD. Id. The court held that “even if we were to deem
11   Cione’s written employment agreement . . . to be wholly integrated . . . [the] arbitration
12   obligation was not superseded.” Id. “[B]y entering into the written employment
13   agreement with Cione, [the employer] did not waive its right to compel arbitration as a
14   third party beneficiary” of Cione’s promise to NASD. Id. This forecloses Qualcomm’s
15   argument.
16         Qualcomm’s SULAs Do Not Cover the Same Subject as Its SSO Promises.
17   Qualcomm’s FRAND commitments do not concern the same “subject matter” as the CM
18   SULAs. While both abstractly relate to patent licensing, they cover different obligations
19   and parties. Qualcomm’s FRAND commitments are its promises to SSOs to license on
20   reasonable terms in exchange for inclusion in an SSO-controlled standard. The SULAs,
21   by contrast, do not identify the terms on which Qualcomm is obligated to offer licenses.
22   The SULAs set the rate the CMs are to pay.
23
24   thus limits evidence of a prior Qualcomm-Pegatron understanding of Qualcomm third-
25   party commitments to vary the terms the SULA.
     28
        Even under Qualcomm’s reading, the integration clauses cover only its prior FRAND
26   commitments and not its later FRAND ones. Qualcomm has continued to declare patents
27   to SSOs and commit that it will license them on FRAND terms. These ongoing
     commitments give rise to separate, enforceable rights for the CMs.
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1          That two agreements cover related subject matter does not mean that they cover
2    the same subject matter. E.g., Mytee Prods., Inc. v. H.D. Prods., Inc., 2007 WL 1813765
3    *6 (S.D. Cal. 2007). Rather, an integration clause must be examined “to determine
4    whether the parties intended the subjects . . . to be included in, excluded from, or
5    otherwise affected by the writing.” Id. at *5 (citing Masterson v. Sine, 68 Cal. 2d 222,
6    225–226) (1968)). No evidence suggests that the parties contemplated the SULAs as
7    covering Qualcomm’s SSO promises.
8          The Integration Clauses Do Not and Cannot Waive CM Claims. Qualcomm cites
9    no case to support interpreting these clauses as sub silentio waivers. Absent clear,
10   explicit, and unambiguous evidence of intent to the contrary, integration clauses do not
11   work a forfeiture or constitute a waiver or release of prior claims or rights. To constitute
12   a release of claims, a provision must be “clear, explicit and comprehensible in each of
13   their essential details.” Skrbina v. Fleming Cos., 45 Cal. App. 4th 1353, 1368 (1996)
14   (quote omitted). The language “must clearly notify the prospective releasor … of the
15   effect of signing the agreement.” Id. (offering example of “clear” language); see also
16   Operating Eng’rs’ Pension Trust Fund v. Clark’s Welding & Mach., 688 F. Supp. 2d
17   902, 910–911 (N.D. Cal. 2010) (clause “could not be any clearer that it is an integration”
18   and not a release). Indeed, the very purpose of Qualcomm’s FRAND promises is that it
19   will not gouge licensees. It is illogical—and against public policy—that, with a generic,
20   boilerplate integration clause, Qualcomm can be absolved. This vitiates the point of the
21   SSO contract.
22         For a third-party beneficiary to waive rights, “the burden is on the party claiming
23   the waiver . . . to prove it by clear and convincing evidence that does not leave the matter
24   to speculation.” Bass v. John Hancock Mut. Life Ins. Co., 10 Cal. 3d 792, 796 (1974).
25   No argument suggests that these clauses “clearly notified” the CMs that they were
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1    waiving legal claims, much less clear and convincingly.29
2    II.    Component Supply Agreements—Between Qualcomm and the CMs (“CSA”)
            and Master Software Agreements—Between Qualcomm and the CMs
3           (“MSA”)
4                       i.   Apple and the CMs’ Position
5           Before Qualcomm will sell chips to a CM, it requires the CM sign a Component
6    Supply Agreement governing chipsets and a Master Software Agreement governing chip
7    software. Each such agreement has an “Intellectual Property” provision that states that
8    the CM “may not use” or sell resulting products “without a separate license from
9    QUALCOMM under all applicable patents.” Docs. 4-12. This thus obligates the CM to
10   sign a SULA before it can use or sell chip products.
11          Although this provision is clear, Qualcomm has refused to stipulate to its meaning,
12   only offering the careful wording below. This will unnecessarily require the issue to be
13   presented at trial. Apple and the CMs thus respectfully ask the Court to construe this
14   provision accordingly to its plain text, namely as requiring CMs to first enter into a
15   SULA before it can use or sell products that use Qualcomm chips.
16                     ii.   Qualcomm’s Position
17          Qualcomm does not believe that there is a genuine dispute of interpretation
18   regarding the Intellectual Property provisions in the CM CSAs and MSAs. Nor is it
19   necessary for the parties to stipulate that they should be interpreted according to their
20   unambiguous, plain meaning.
21                 AGREEMENTS BETWEEN APPLE AND QUALCOMM
22   III.   Business Cooperation and Patent Agreement—Between Qualcomm and
            Apple, dated January 1, 2013 (“BCPA”)30
23
24   29
        Qualcomm’s argument that the CMs “gave up their status” under French law is
25   equally a red herring. Qualcomm’s pronouncement is merely disputed ipse dixit.
         30
            The issues related to the disputed BCPA provisions are more thoroughly discussed
26   in the briefing related to Apple’s Motion for Summary Judgment on the BCPA
27   Counterclaims (ECF 602, 632 and 664) and Qualcomm’s Supplemental Opposition to
     Apple’s Motion for Summary Judgment on the BCPA Counterclaims (ECF 758 and 773).
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1           Apple has moved for summary judgment on Qualcomm’s BCPA Counterclaims
2    and Qualcomm has cross-moved. Many of the contractual interpretation issues below
3    regarding Section 4, Section 7, and the implied covenant of good faith and fair dealing
4    are in the parties’ prior briefing.
5           A.     Section 4
6           Qualcomm asserts that Apple has breached Section 4 of the BCPA. See
7    Qualcomm Counterclaims VI.
8                       i.   Apple’s Position
9           Whether Qualcomm can recover BCP Payments for alleged breach of Section 4
10   of the BCPA. Qualcomm seeks to recover the BCP Payments as a result of Apple’s
11   purported breach of BCPA § 4. Doc. 13. But Section 4 is independent of the BCP
12   Payments, which arise out of BCPA § 7. Qualcomm’s request runs afoul of California
13   Civil Code § 3300, which provides that the measure of damages for breach of contract
14   must be causally related to the underlying breach. Qualcomm has not provided any
15   expert analysis on this point, and Apple is unaware of any basis for such a claim.
16   Because Qualcomm has not and cannot demonstrate this causal relationship, its request
17   for damages must be denied. Dkt. 602-1 at 15–16.
18          Qualcomm’s argument also fails because the BCPA includes a Limitation of
19   Liability Provision that limits recovery under the BCPA to general damages, foreclosing
20   all “indirect, incidental, consequential, special, or exemplary damages arising out of or
21   related to this agreement” except under circumstances not at issue here. (Dkt. 602-6 at
22   17.) Under California law, “[g]eneral damages are often characterized as those that flow
23   directly and necessarily from a breach of contract, or that are a natural result of a breach.”
24   Lewis Jorge Constr. Mgmt., Inc. v. Pomona Unified Sch. Dist., 34 Cal. 4th 960, 968
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1    contends that Apple has breached Section 4 by (a) “inducing the CMs to reduce royalty
2    payments to Qualcomm,”33 (b) “interfering with the audit procedures provided for in the
3    [SULAs]” and (c) “directing the [CMs] to misstate the net selling price” of devices. Dkt.
4    469 ¶ 360. First, as discussed supra, these claims are premised on an unsupportable
5    reading of the SULAs. Second, Qualcomm was aware of the bases of its allegations that
6    Apple interfered in Qualcomm’s audit procedures under the SULAs with the CMs by
7    2012 at the latest (Dkt. 599-1)—well before the BCPA was executed in 2013. The last
8    sentence of § 4 accounts for audit issues. That sentence states that “nothing in” § 4 is
9    intended to modify any . . . agreement between Apple and any Qualcomm Licensee.”
10   Dkt. 602-6 at 3. Apple considered the information requested during CM audits to be
11   Apple confidential per Apple’s separate agreements with the CMs, and Qualcomm was
12   well aware of this prior to signing the BCPA. Dkt. 599-1. This portion of § 4 makes
13   clear that Apple’s exercise of its right to maintain confidentiality over its information
14   pursuant to its agreements with the CMs cannot support breach.
15                     ii.   Qualcomm’s Position
16         In 2013, Apple and Qualcomm entered into the BCPA. The agreement was in part
17   a truce. For a four-year period, the parties agreed to work together and to refrain from
18   taking certain actions that could harm each other’s interests. Apple agreed not to
19   interfere with Qualcomm’s relationships with its licensees, including the CMs, and not to
20   bring certain claims (directly or indirectly) against Qualcomm. In exchange for those
21   commitments and other consideration, Qualcomm agreed to pay Apple billions of dollars
22   in quarterly Business Cooperation and Patent Payments (“BCP payments”).
23         Pursuant to Section 4 of the BCPA, Apple agreed not to interfere with
24   Qualcomm’s relationships with its licensees, including the CMs. Specifically, Apple was
25   prohibited from “prevent[ing], restrict[ing], or discourag[ing]” any Qualcomm licensee
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     33
27      Apple understands this allegation to relate to alleged non-payment of royalties on
     royalties, discussed in Apple’s Motion for Partial Summary Judgment (Dkt. 599-1).
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1    amount which will compensate the party aggrieved for all the detriment proximately
2    caused thereby.”). The extent of those damages is a question for the jury. See Estrada v.
3    Orwitz, 75 Cal. App. 2d 54, 60 (Cal. Ct. App. 1946) (stating that the “assessment of
4    damages is . . . the province of the jury”).
5          Apple’s two arguments regarding Section 4 are wrong. First, Apple argues that a
6    breach of Section 4 does not entitle Qualcomm to the return of BCP payments because
7    Section 7 of the BCPA (which contains the BCP Payment obligation) is not impacted by
8    a breach of Section 4. (See ECF 602 at 15-16.) Apple asserts, therefore, that seeking
9    return of BCP payments is a penalty. But Apple does not point to anything that would
10   require Qualcomm to continue performing under a contract that has been materially
11   breached. To the extent Qualcomm made BCP payments it was not required to make, the
12   jury is entitled to find that Qualcomm was damaged by at least the amount of those
13   unnecessary payments. See Hickcox-Huffman v. U.S. Airways, Inc., 855 F.3d 1057,
14   1064-65 (9th Cir. 2017) (“refunds are among the remedies traditionally recognized as
15   among those which may be granted”). Apple also ignores that the measure of damages is
16   one for the jury to decide, whether it includes BCP payments or not. See Estrada, 75 Cal.
17   App. 2d at 60.
18         Second, Apple argues—for the first time—that Apple and Qualcomm’s pre-BCPA
19   course of dealing purportedly demonstrates that Qualcomm had acquiesced to Apple’s
20   interference with the CM SULAs. That is wrong. Apple promised not to “knowingly
21   take (or continue taking) any action” that “prevents, restricts, or discourages” the CMs
22   from “complying fully with the terms” of each CM’s SULA. (§ 4 (emphasis added).)
23   Course of dealing or course of performance may only “explain[] or supplement[]” the
24   terms of a contract, not contradict them. See Cal. Civ. Proc. Code § 1856(c). Apple’s
25   cited authority merely addresses the proper use of course of dealing—to address an
26   ambiguity in a contract, not outright contradict it. Regardless, the parties’ “course of
27   dealing” demonstrates Qualcomm objected to and sought to stop Apple’s interference by
28                                                                  Case No. 17-cv-0108-GPC-MDD
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1    entering into the BCPA. Both before and after signing the BCPA, Qualcomm repeatedly
2    complained about Apple’s interference (see, e.g., Ex. 8; Ex. 21 at 389:8-24; 394:11-17;
3    Ex. 16 at ‘2720.)
4          The measure of damages for Apple’s breach of Section 4 is a question for the jury
5    and the jury can award any amount supported by the evidence.
6          B.     Section 7
7          Apple and Qualcomm each assert the other has breached Section 7 of the BCPA.
8    See Apple Claims I–IV; Qualcomm Counterclaims VI–IX.
9                        i.   Apple’s Position
10         Qualcomm breached § 7 of the BCPA by withholding payments to which Apple
11   was entitled in 2016, totaling $963,453,309, along with other defenses and claims. Dkt.
12   83 ¶¶ 245–280. The following contract provisions are at issue.
13         Whether Apple could have breached the BCPA if it responded to agency requests
14   in any investigation that was already open, including if Apple “advocated” for or
15   sought to “expand” it. Section 7 prohibits Apple only from initiating Litigation, or
16   actively inducing a third party to initiate Litigation. Apple could not have initiated or
17   “actively induced” any government agency to “initiate” an investigation where that
18   investigation was already ongoing before Apple made any statements. Summ. J. Hr’g Tr.
19   at 57:21–58:3 (“THE COURT: “you can only initiate something once”). And § 7
20   permitted Apple to respond to agency requests without restriction on the response’s
21   content. Dkt. 602-1 at 5, 6–9; Dkt. 773 at 4.
22         Qualcomm takes the position that an effort to “expand” an agency investigation
23   during the term of the BCPA would constitute “active inducement” or “initiation,” even if
24   the investigation already encompassed Qualcomm’s licensing practices. Dkt. 632 at 12;
25   Dkt. 758 at 17–18. But this interpretation runs counter to the plain text of the BCPA,
26   because nowhere in its text, or in a reasonable meaning of “induce” or “initiate,” is there
27   a prohibition on “advocacy” or attempted “expansion.” Dkt. 602-6 at 7. Apple could not
28                                                                   Case No. 17-cv-0108-GPC-MDD
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1    have “actively induced” any agency to “initiate” an investigation that was already
2    ongoing, regardless of whether Qualcomm portrays Apple’s conduct as “advocacy” or
3    attempted “expansion.”
4          In addition, regardless of how categorized, Apple’s submissions were permitted by
5    the safe harbor provision in the third paragraph of § 7, which allowed Apple to respond
6    freely to agency requests. Dkt. 602-1 at 5, 6–9; Dkt. 773 at 4. Qualcomm’s absurd
7    interpretation, if accepted, would mean that anything Apple said in response to an agency
8    request could be said to trigger an “expansion” of the inquiry if the agency took action as
9    a result of Apple’s statements (such as asking follow-up questions), and any statement
10   could be labeled “advocacy” after the fact. Similarly, Apple’s submissions regarding
11   remedies in any ongoing investigation cannot have “actively induced” the “initiation” of
12   any investigation. Dkt. 602-1 at 9–10; Dkt. 664 at 5; Dkt. 773 at 12.
13         Finally, Qualcomm’s interpretation of § 7 would violate public policy in favor of
14   full, candid responses to agency requests. Dkt. 602-1 at 9–12; Dkt. 664 at 2–4; Dkt. 773
15   at 6–7, 15–17. Any interpretation that would prohibit Apple from freely responding to
16   agency requests or inquiries—including one that permitted Qualcomm to audit Apple’s
17   responses—would violate public policy. See infra.
18         Whether Qualcomm could withhold BCP Payments based on Apple’s responses
19   to agency requests based on actions before the BCPA’s term. Only actions during the
20   BCPA’s term—January 1, 2013, to December 31, 2016—could relieve Qualcomm of its
21   obligations to make BCP Payments. Dkt. 602-1 at 5; Dkt. 773 at 6. Apple was free to
22   respond to agency requests during the term of the BCPA no matter its actions before
23   January 1, 2013.35 Qualcomm maintains that, if Apple “actively induced” an agency
24   investigation before the BCPA was effective, then Apple forfeited the safe harbor. Dkt.
25   632 at 9–10; Dkt. 758 at 16. Qualcomm’s interpretation is contrary to the BCPA’s
26
     35
27      Nothing in this brief should be construed as any admission on any factual issue,
     including whether Apple “actively induced” any agency investigation.
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1    language and structure. The reference to “active inducement” in paragraph 3 of § 7 of the
2    BCPA must be read in reference to the prohibition on active inducement in paragraph 2,
3    which only restricts actions during the BCPA’s term. See Dkt. 664 at 2; Summ. J. Hr’g
4    Tr. 42:6–44:13.
5          Also, Qualcomm’s interpretation—which would forbid Apple from responding to
6    valid agency requests based on actions taken before the BCPA existed—would violate
7    public policy requiring Apple to cooperate with and respond to the agencies. Dkt. 602-1
8    at 11–12; Dkt. 664 at 2–4; Dkt. 773 at 15–17. Because California law requires the Court
9    to construe a contract so as to ensure that it is “lawful,” “operative,” and “reasonable,”
10   the Court should reject Qualcomm’s interpretation. Segal v. Silberstein, 156 Cal. App.
11   4th 627, 633 (2007).
12         Whether Apple had any obligation to refrain from “active inducement” or
13   initiation of Litigation on topics other than infringement, FRAND, or exhaustion.
14   Apple was permitted to initiate or actively induce the initiation of Litigation on any topic
15   not identified in the BCPA, including Qualcomm’s anticompetitive conduct. Dkt. 602-1
16   at 2, 4–5; Dkt. 773 at 4–5. Apple was prohibited only from initiating or actively inducing
17   an agency to initiate investigations that included “any claim that (a) a Qualcomm party
18   has failed to offer a license on FRAND or RAND terms” or “(b) the sale of a Qualcomm
19   Component exhausts any” Qualcomm patent. Dkt. 602-1 at 5. Qualcomm claims that it is
20   “illogical” to interpret the BCPA only to focus on “formal counts” for FRAND or
21   exhaustion, but Qualcomm’s argument is a straw man. Any time Apple mentioned
22   FRAND or exhaustion to an agency during the BCPA’s term, it was responding to an
23   agency request, as Apple detailed in its summary judgment papers. See Dkt. 602-1 at 7–
24   8; Dkt. 773-1.
25         Whether Qualcomm could withhold BCP Payments if an agency did not actually
26   initiate an investigation or dispute-resolution procedure during the BCPA’s term that
27   contained a FRAND or exhaustion claim. The conditions of § 7 of the BCPA are only
28                                                                  Case No. 17-cv-0108-GPC-MDD
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1    triggered if Apple or a third party (with Apple’s active inducement) actually “initiate[d]”
2    Litigation against Qualcomm, as defined in the BCPA, and only if that Litigation
3    contains a claim relating to patent infringement, FRAND, or exhaustion. Dkt. 773 at 2,
4    4–5. First, the prohibition on “active inducement” applies only “where such Litigation
5    includes any claim” of FRAND or exhaustion; the use of the present tense “includes”
6    demonstrates that the claim must be actual rather than speculative. Dkt. 602-6 at 7.
7    Second, the final sentence of paragraph 2 provides that “Qualcomm’s obligations under”
8    § 7 “will not cease to apply if Apple (or the third party induced by Apple) withdraws
9    such Apple assertion within thirty (30) days after receiving a written request from
10   Qualcomm to withdraw” the investigation. Id. The entire concept of withdrawing an
11   assertion or claim requires the existence of an actual investigation or Litigation.
12   Moreover, the definitions of “induce,” “instigate,” and “initiate” all contain a causal
13   element; absent the initiation of an actual investigation on the topics identified in the
14   BCPA, there could be no active inducement, instigation, or initiation. Dkt. 773 at 5.
15         Whether Qualcomm could withhold payments based on its view of the truth or
16   falsity of Apple’s statements to regulatory agencies. Qualcomm contends that Apple
17   made false statements to agencies and, because false statements are not “responsive” to
18   agency requests, those statements fell outside the § 7 safe harbor. Dkt. 632 at 11; Dkt.
19   758 at 18–20. That interpretation is flat wrong. Nothing in the BCPA gave Qualcomm
20   the right to audit the contents of Apple’s responses, and Qualcomm’s strained
21   interpretation of the word “respond” finds no support in common understandings of that
22   word. Dkt. 602-1 at 9. Moreover, Qualcomm’s proposed interpretation—which would
23   give the target of an investigation the right to punish responders for answers that the
24   target did not like—would contravene public policy. Dkt. 664 at 4–5; Dkt. 773 at 14–15;
25   see infra. And to the extent Apple’s statements to regulators did not concern FRAND,
26   exhaustion, or patent infringement, they were altogether outside the scope of the BCPA.
27   Dkt. 664 at 5.
28                                                                  Case No. 17-cv-0108-GPC-MDD
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1          Whether paragraph 2 of Section 7 is a condition precedent. Qualcomm appears
2    to interpret the second paragraph of Section 7 as a condition precedent, and claims that
3    Apple bears the burden of showing demonstrating that it did not actively induce any
4    agency to initiate an investigation into Qualcomm’s licensing practices. Qualcomm’s
5    Proposed Jury Instrs., served Feb. 1, 2019. But the provision is a condition subsequent,
6    i.e., a condition of breach. Cal. Civ. Code § 1438; Rest. (2d) of Contracts § 230 (1981);
7    Title Guar. & Sur. Co. v. Nichols, 224 U.S. 346, 351 (1912). Qualcomm thus bears the
8    burden of demonstrating that the condition occurred. Nichols, 224 U.S. at 351 (“if the
9    contract sued upon is subject to a condition subsequent, there is no occasion for any
10   averment in respect to the condition. It is a matter of defense, which must come from the
11   other side.”); accord Searle v. Allstate Life Ins. Co., 38 Cal. 3d 425, 437–38 (1985);
12   Javierre v. Central Altagracia, 217 U.S. 502, 507 (1910). Nothing in Apple’s
13   complaint—which recited boilerplate elements of a contract claim—is any kind of
14   “admission” otherwise.
15         Whether paragraph 2 of Section 7 of the BCPA is a liquidated damages
16   provision. Qualcomm’s interpretation of the BCPA would render § 7 an unlawful
17   liquidated damages provision under § 1671(b) because it contemplates a single, definite
18   performance—Apple’s forbearance from making negative statements about Qualcomm—
19   and imposes a penalty contingent on breach of that performance that “bears no reasonable
20   relationship to the range of actual damages that the parties could have anticipated would
21   flow from a breach.” Ridgley v. Topa Thrift & Loan Ass’n, 17 Cal. 4th 970, 977 (1998).
22   The BCP Payments Qualcomm withheld under § 7 are calculated based on the number of
23   chipsets sold to Apple’s CMs—not the actual harm Qualcomm might have suffered as
24   any alleged active inducement of the initiation of an agency investigation. See Med.
25   Sales & Consulting Grp. v. Plus Orthopedics USA, Inc., 2011 WL 5075970, at *8, at *22
26   (S.D. Cal. Oct. 25, 2011) (provision providing increased pay where employer failed to
27   give employee title was unenforceable because payment bore no relationship to the
28                                                                 Case No. 17-cv-0108-GPC-MDD
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1    damages that might actually flow); Ridgley, 17 Cal. 4th at 977 (prepayment fee equal to
2    six months’ interest in the event of any late payment was an unenforceable penalty).
3          Qualcomm has argued that the second paragraph of § 7 is merely a condition. Dkt.
4    758 at 5. But Qualcomm accuses Apple of breaching the BCPA, Dkt. 469 ¶¶ 355–359.
5    When “it is manifest that a contract expressed to be performed in the alternative is in fact
6    a contract contemplating but a single, definite performance with an additional charge
7    contingent on the breach of that performance, the provision cannot escape examination in
8    light of pertinent rules relative to the liquidation of damages.” Blank v. Borden, 11 Cal.
9    3d 963, 970 (1974) (quoting Garret v. Coast & S. Fed. Sav. & Loan Ass’n, 9 Cal. 3d 731,
10   738 (1973)). Section 7 of the BCPA contemplated a single performance (refraining from
11   active inducement), not a rational choice between alternative performances. The
12   provision was based on the assumption that Apple would forbear from initiating defined
13   Litigation, such that “the only purpose and effect of” ending forbearance was “to hold
14   over … the larger liability”—loss of BCP Payments—“as a threat.” Blank, 11 Cal. 3d at
15   971 (1974).
16         Whether the BCPA was a valid contract even if the parties disagree about the
17   meaning of Section 7. Qualcomm claims, in the alternative to its breach of contract and
18   implied covenant claims, that it is entitled to restitution of all past BCP Payments because
19   there was no “meeting of the minds.” Dkt. 469 ¶¶ 372–374. But under California’s
20   “objective test of contract formation, a ‘meeting of the minds’ is unnecessary,”
21   Blumenfeld v. R.H. Macy & Co., 92 Cal. App. 3d 38, 46 (1979), and Qualcomm’s after-
22   the fact supposed “misunderstanding” about the scope of § 7 does not void the contract.
23   Dkt. 602-1 at 13; Dkt. 664 at 3, 6–7; Dkt. 773 at 18–19.
24                    ii.   Qualcomm’s Position
25         Qualcomm contends that Section 7 of the BCPA is clear on its face. Under Section
26   7, Qualcomm’s payment obligation would run “only so long as” Apple kept its side of the
27   bargain by not “actively inducing” any litigation or investigations of Qualcomm. Section
28                                                                  Case No. 17-cv-0108-GPC-MDD
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1    7 further specified that “suggesting (or inducing a third party to suggest) to a
2    governmental authority that it instigate an investigation” was sufficient to constitute
3    “active inducement”. And Section 7 included a “safe harbor” provision that clarified
4    Apple could “respon[d]” to inquiries from regulators. However, consistent with the
5    overall purpose of the agreement to establish peace between the companies, the safe
6    harbor was limited to an investigation that “was initiated without any Apple Party’s
7    active inducement”, no matter when that “active inducement” occurred.
8          A few fundamental principles of contract interpretation guide the analysis of
9    BCPA Section 7. Contracts should be “interpreted so as to give effect to the[ir] main
10   purpose”. Petty v. Hill, 2006 WL 280826, at *5 (Cal. Ct. App. Oct. 3, 2006). And
11   interpreting a contract should not result in an “absurdity” See Cal. Civ. Code § 1638;
12   Southland Corp. v. Emerald Corp., 789 F.2d 1441, 1443 (9th Cir. 1986). Furthermore,
13   contracts should be interpreted “in a manner which gives force and effect to every clause
14   rather than to one which renders clauses nugatory”. Titan Corp. v. Aetna Cas. & Sur.
15   Co., 22 Cal. App. 4th 457, 474 (Cal. Ct. App. 1994); see also Cal. Civ. Code § 1641. If a
16   clause of a contract is susceptible to more than one reasonable interpretation, and the
17   parol evidence conflicts on which meaning should apply, the meaning of the contract
18   term is a question for the jury. See Stetson, 1988 WL 86214, at *2.
19         There are numerous disputes about the proper interpretation of Section 7:
20         First, the parties dispute whether Apple’s efforts to induce investigations must
21   have been successful to constitute “active inducement” as defined in Section 7. Under
22   the plain language of Section 7, it is enough merely for Apple to “suggest” that an
23   investigation should occur. Qualcomm does not need to demonstrate that Apple actually
24   caused an investigation. The BCPA is clear:
25         For the further avoidance of doubt, suggesting (or inducing a third party to
26         suggest) to a governmental authority that it instigate an investigation
           regarding a Qualcomm Party’s licensing practices constitutes “actively
27         inducing” and “active inducement” as those terms are used in this Section 7.
           (App’x Doc. No. 14 § 7 (emphasis added).)
28                                                                  Case No. 17-cv-0108-GPC-MDD
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1    investigation that had already begun, then there would be no need for a safe harbor for
2    Apple’s responses to that investigation. Apple could simply respond knowing the
3    investigation had already begun and so its response could not possibly be inducement. Any
4    interpretation of Section 7 that is inconsistent with the entirety of the section should be
5    rejected. See Cal. Civ. Code § 1641; Titan Corp., 22 Cal. App. 4th at 474.
6          Fourth, the parties dispute whether Apple’s active inducement needs to occur
7    during the BCPA term for any subsequent responses by Apple related to that
8    investigation to be outside the safe harbor. The answer is no. The safe harbor applies
9    only where, per the BCPA terms, the relevant investigation “was initiated without any
10   Apple Party’s active inducement”. The provision places no temporal limitation on how
11   much earlier the inducement must have occurred; instead it defines the characteristics of
12   the investigation Apple is responding to.
13         Fifth, Apple argues that it was only obligated to refrain from actively inducing
14   investigations or litigations that included specific, formal counts for patent infringement,
15   FRAND or exhaustion. Apple argues, for example, that it was free to induce antitrust
16   litigation, even if the purported antitrust violations are premised on FRAND or
17   exhaustion theories. Apple’s position is illogical. Under Section 7, the BCP payments
18   are conditioned on Apple not actively inducing “Litigation against a Qualcomm Party . . .
19   where such Litigation includes any claim that (a) a Qualcomm Party has failed to offer a
20   license on FRAND or RAND terms and conditions or (b) the sale of a Qualcomm
21   Component exhausts any of a Qualcomm Party’s patents”. The definition of the term
22   “Litigation” demonstrates that “any claim” does not have a formalistic meaning, but
23   rather should be interpreted in the broadest sense of the word. “Litigation” is defined to
24   include “any procedure for the resolution of a controversy or dispute in any jurisdiction in
25   the world whether created by a claim, a counterclaim or otherwise, in the broadest sense
26   and in whatever form, whether administrative, judicial, arbitral or otherwise”. (App’x
27   Doc. No. 13 at 12.) “[A]ny claim” is intended to have the broadest possible meaning;
28                                                                   Case No. 17-cv-0108-GPC-MDD
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1    thus, “claim” is not limited to a formal count, but includes any supporting allegations and
2    theories. Under Apple’s theory, Apple could mask a FRAND or exhaustion claim as an
3    antitrust count (or other theory), while continuing to receive BCP payments. That absurd
4    result should be rejected. See Cal. Civ. Code § 1638.
5          Sixth, Apple’s obligation not to induce litigations or investigations is a condition
6    precedent to Qualcomm’s payment obligation. A condition precedent is one “which is to
7    be performed before some right dependent thereon accrues, or some act dependent
8    thereon is performed”. See Cal. Civ. Code § 1436 (definition of condition precedent).
9    Section 7 states Qualcomm’s obligation exists “only so long as” Apple has complied with
10   its obligation. One purpose of the BCPA was to elicit Apple’s promise that it would not
11   engage in active inducement of litigation or investigations against Qualcomm. Notably,
12   Apple itself previously agreed with that interpretation—stating in its complaint that, “all
13   conditions precedent for Qualcomm’s performance have been fulfilled”. (Apple First
14   Am. Compl. ¶ 254.) The Court should find Apple was right the first time.
15         Seventh, Apple argues that the condition Section 7 placed on Qualcomm’s
16   obligation to make BCP payments is a liquidated damages provision. A liquidated
17   damages provision is “an amount of compensation to be paid in the event of a breach of
18   contract”. Free Range Content, Inc. v. Google Inc., 2016 WL 2902332, at *10 (N.D. Cal.
19   May 13, 2016). The second paragraph of Section 7 is not a liquidated damages provision
20   because it does not call for damages; rather, it conditions Qualcomm’s payment
21   obligations on Apple’s performance. Qualcomm is entitled to return of BCP payments
22   because it continued making payments even after (unbeknownst to Qualcomm) Apple
23   had breached and was no longer entitled to them. But those are direct damages.
24         Finally, Apple also argues that the BCPA was a valid contract even if the parties
25   disagree about the meaning of Section 7. That is not a contractual language dispute for
26   the Court to decide here. Nevertheless, Qualcomm has already explained that it would be
27   entitled to a refund of all BCP Payments based on Apple’s unjust enrichment if the Court
28                                                                  Case No. 17-cv-0108-GPC-MDD
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1    determines that Qualcomm paid Apple without actually receiving any promise from
2    Apple in return. (See ECF 632 at 15-16; ECF 758 at 20-21.)
3          C.     Implied Covenant of Good Faith and Fair Dealing
4                      i.   Apple’s Position
5          Qualcomm claims that Apple’s actions before or after the effective date of the
6    contract and in “assisting” government investigations breached the implied covenant.
7    Dkt. 632 at 15, Dkt. 758 at 20–21. But the BCPA’s safe harbor expressly permitted
8    Apple to respond to government inquiries. Dkt. 602-6 at 7. The implied covenant may
9    not “be read to prohibit a party from doing that which is expressly permitted by an
10   agreement.” Carma Developers (Cal.), Inc. v. Marathon Development Cal., Inc., 826
11   P.2d 710, 728 (Cal. 1992). Qualcomm also attempts to write into the BCPA obligations
12   before and after its term and Qualcomm’s ability to audit Apple’s statements to
13   regulators. But the implied covenant cannot create terms where “no express terms exist
14   on which to hinge an implied duty.” Abbit v. ING Annuity & Life Ins. Co., 999 F. Supp.
15   3d 1189, 1198 (S.D. Cal. 2014).
16         Apple, for its part, claims that Qualcomm deprived Apple of the benefits of its
17   bargain by improperly withholding BCP Payments in 2016, in retaliation for Apple’s
18   interactions with government regulators, based on specious excuses that find no home in
19   the language of the BCPA. Dkt. 79 at ¶¶ 261–267 (Count II).
20                    ii.   Qualcomm’s Position
21         “Every contract in California contains an implied covenant of good faith and fair
22   dealing that neither party will do anything which will injure the right of the other to
23   receive the benefits of the agreement.” Ladd v. Warner Bros. Entm’t Inc., 110 Cal. Rptr.
24   3d 74, 81 (Cal. Ct. App. 2010). A party breaches the implied covenant when it engages
25   in “unfair dealing, whether or not it also constitutes a breach of a consensual contract
26   term, prompted by a conscious and deliberate act that unfairly frustrates the agreed
27   common purposes and disappoints the reasonable expectations of the other party”.
28                                                                  Case No. 17-cv-0108-GPC-MDD
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1    aggregation feature as part of the MDM9625 chipset’s up-front cost. Instead, Apple
2    insisted that payments compensating Qualcomm for the carrier aggregation feature,
3    termed “Adder” payments, be made only upon the occurrence of certain triggering
4    events. Section 4.2 of the 2013 SOW lists four criteria of “CA-Enabled Apple Product”,
5    each of which, standing alone, could trigger Apple’s Adder payments:
6          (A) is Activated on any CA-Enabled Network, unless enabling Carrier
           Aggregation on that network would materially degrade the user experience
7          or devalue the Apple Product;
8          (B) has been granted technical approval (TA) to support Carrier
           Aggregation on the cellular wireless network on which it is Activated;
9          (C) is enabled by Apple via software to support Carrier Aggregation on
10         the cellular wireless network on which it is Activated; or
           (D) has been marketed by Apple or a cellular wireless network operator as
11         being capable of supporting Carrier Aggregation specifically on the cellular
12         wireless network on which it is Activated or has been marketed generally by
           Apple as being capable of supporting Carrier Aggregation.
13   (See App’x Doc. No. 14 § 4.2) (emphasis added).
14         The word “or” at the end of Section 4.2(C) confirms that each of these is an
15   independent criterion. If any one of them is met, Apple owes Adder payments.
16         The interpretation of the 2013 SOW implicates basic tenants of contract law.
17   Contracts are interpreted according to their plain language. Cal. Civ. Code § 1644;
18   Santisas v. Goodin, 17 Cal. 4th 599, 608 (1998) (“The ‘clear and explicit’ meaning of
19   the[] provisions . . . controls judicial interpretation”). When interpreting a contract, “the
20   whole of a contract is to be taken together, so as to give effect to every part, if reasonably
21   practicable, each clause helping to interpret the other.” Cal. Civ. Code § 1641.
22         Apple owes Adder payments based on two triggering events. First, Apple owes
23   Adder payments under Section 4.2(D) because Apple marketed certain Apple devices’
24   carrier aggregation capabilities at a September 9, 2014 iPhone 6 launch event and an
25   October 16, 2014 iPad Air 2 launch event. (See Ex. 37 ¶ 67-68, 70.) Section 4.2(D)
26   states that Apple would owe Adder payments if an Apple device has been marketed as
27   having carrier aggregation capabilities. “Marketed” is not defined in the 2013 SOW
28                                                                  Case No. 17-cv-0108-GPC-MDD
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1    a large audience. Moreover, the contract itself requires only that an Apple product was
2    “marketed generally . . . as being capable of supporting Carrier Aggregation”. (§ 4.2(D).)
3    Nothing in the language of the contract suggests that Apple had to reach a certain size
4    audience or repeatedly tout the carrier aggregation feature to meet the trigger. Although
5    the second clause of 4.2(D) states that the trigger occurs when a product has been
6    “marketed generally by Apple as being capable of supporting Carrier Aggregation”, the
7    word “generally” serves only to distinguish the second clause from the first, which also
8    triggers Adder payments if an Apple product has been “marketed . . . as being capable of
9    supporting Carrier Aggregation specifically on the cellular wireless network on which it
10   is Activated.” (§ 4.2(D).) The word “generally” does not mean “widely”; instead, it
11   refers to the context in which carrier aggregation is marketed. Apple’s deconstruction of
12   the relationship between “generally” and “marketed” fails because it ignores the entire
13   first half of the provision—which makes clear the juxtaposition is about the content of the
14   marketing and not the size of its audience.
15         With respect to the Activation trigger under Section 4.2(A), Apple argues that
16   Adder payments were triggered only when carrier aggregation was enabled both on the
17   network and on the Apple device itself because the definition of carrier aggregation
18   includes the phrase “supported by the Apple Product”. (See Ex. 45 at ¶ 33.) But, the
19   definition of carrier aggregation merely identifies the relevant specification of carrier
20   aggregation on the MDM9625 chip in Apple’s devices. And Apple’s cramped reading
21   ignores the actual definition of a “CA-Enabled Apple Product”, which includes multiple,
22   independent triggers that would be superfluous if the “true” requirement were that the
23   Apple product must be in fact using carrier aggregation. Indeed, activation on the Apple
24   device is a separate trigger for Adder payments in § 4.2(C), which triggers Adder
25   payments for a device “enabled by Apple software to support Carrier Aggregation”.
26   Apple essentially argues that both Section 4.2(A) (activated on a network capable of
27   supporting carrier aggregation) and Section 4.2(C) (enabled on the device via software)
28                                                                  Case No. 17-cv-0108-GPC-MDD
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1    Qualcomm regarding what payments are due.
2          Qualcomm argues it is owed an Adder under Section 4.2(A) for all devices
3    Activated on networks where carrier aggregation was enabled, even if that feature was
4    not enabled for Apple products. Qualcomm thus claims Apple should pay for devices
5    activated on the Verizon and T-Mobile networks as early as September 2014, even
6    though carrier aggregation was not enabled for Apple Products on Verizon until
7    September 2015, and has never been enabled on T-Mobile. ACM Ex. B (Apple’s First
8    Supp. Response to Qualcomm Interrogatory No. 22) at 3.
9          Qualcomm’s interpretation ignores that “Carrier Aggregation” is a defined term in
10   the 2013 SOW and is limited to the form of carrier aggregation that is “supported by the
11   Apple Product.” § 4.2 (definition of Carrier Aggregation) (emphasis added).38 Section
12   4.2(A) incorporates that definition through its use of the defined term “CA-Enabled
13   Network,” which is a cellular network “that has commercially launched support for
14   Carrier Aggregation.” Read together, Section 4.2(A) only applies to Apple Products
15   activated on cellular networks that had commercially launched support for the form of
16   carrier aggregation supported by those Apple Products. It does not apply to Apple
17   Products that did not support carrier aggregation.
18         Qualcomm also fails to address the second part of Section 4.2(A), which excludes
19   activations where “enabling Carrier Aggregation on a network would materially degrade
20   the user experience or devalue the Apple product.” This is fatal to Qualcomm’s claim
21   that “the activation of any Apple phone containing the MDM9625 chip on any network
22   that can support carrier aggregation triggers Adder payments.” On some networks,
23   38
        “The whole of a contract is to be taken together, so as to give effect to every part, if
24   reasonably practicable, each clause helping to interpret the other.” Cal. Civ. Code
25   § 1641. Section 4.2 uses the word “support” to modify Carrier Aggregation in several
     instances: the definitions of “CA-Enabled Network” and “Carrier Aggregation,” as well
26   as in Sections 4.2(B), 4.2(C), and 4.2(D). It is evident based on the repetition of this term
27   throughout Section 4.2 that Apple did not intend to and did not agree to pay for
     technology that was not actually used in its products.
28                                                                  Case No. 17-cv-0108-GPC-MDD
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1    Apple’s hardware or software could not support carrier aggregation, and enabling carrier
2    aggregation technology earlier or at all would “materially degrade the user experience.”
3    This provision makes it explicit that no Adder was due for activations in those cases.
4          Qualcomm furthers contends that Apple owes payments under Section 4.2(D)
5    because Apple “marketed certain Apple devices’ carrier aggregation capabilities” at two
6    launch events in the fall of 2014. Qualcomm’s interpretation again impermissibly
7    ignores the plain meaning of the 2013 SOW. Cal. Civ. Code § 1644 (“The words of a
8    contract are to be understood in their ordinary and popular sense.”); id. § 1638 (“The
9    language of a contract is to govern its interpretation, if the language is clear and explicit,
10   and does not involve an absurdity.”).
11         Section 4.2(D) applies to Apple Products “marketed generally by Apple as being
12   capable of supporting Carrier Aggregation.” As Qualcomm notes, “marketed” is not
13   defined, but means to “advertise or promote,” or to “expose for sale in a market.”
14   Merriam-Webster Online Dictionary, https://www.merriam-
15   webster.com/dictionary/market (last visited Feb. 15, 2019). “Generally” is also not
16   defined, but means “in disregard of specific instances and with regard to an overall
17   picture,” “as a rule,” “in most cases,” “usually,” or “widely.” Id.; New Oxford American
18   Dictionary (3d ed. 2010). The last antecedent rule “provides that qualifying words,
19   phrases and clauses are to be applied to the words or phrases immediately preceding and
20   are not to be construed as extending to or including other more remote.” White v. Cty. of
21   Sacramento, 31 Cal. 3d 676, 680 (1982) (internal quotation marks omitted); see WPP
22   Luxembourg Gamma Three Sarl v. Spot Runner, Inc., 655 F.3d 1039, 1051 n.3 (9th Cir.
23   2011) (collecting cases). Accordingly, the term “generally” in Section 4.2(D) is
24   modifying the word “marketed,” rather than “capable.”
25         A common-sense, plain meaning interpretation of this subsection dictates that the
26   phrase “marketed generally” applies to Apple Products that were as a rule or widely
27   marketed—i.e. advertised, promoted, or exposed for sale—as being capable of supporting
28                                                                  Case No. 17-cv-0108-GPC-MDD
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1                               TIA, ATIS AND ETSI POLICIES
2    V.    The FRAND Commitment
3                      i.   Apple’s and the CMs’ Position

4          Standard setting organizations (SSOs), including the Telecommunications Industry

5    Association (TIA), the Alliance for Telecommunications Industry Solutions (ATIS), and

6    the European Telecommunications Standards Institute (ETSI), create and distribute

7    common standards for all members to follow. See generally Dkt. 79 (Apple’s 1st Am.

8    Compl.). Each SSO has its own intellectual property rights (IPR) policy, which sets out

9    the commitments SSO members make by participating in that SSO and by submitting

10   written assurances to that effect.40 Docs. 16-19. Thus, each IPR policy is a contract

11   between the SSO and SSO members, such as Qualcomm. As a member of TIA, ATIS,

12   and ETSI, Qualcomm has undertaken contractual commitments outlined in the respective

13   IPR policies. The Court will need to interpret provisions in the IPR policies of these

14   three SSOs concerning (1) Qualcomm’s FRAND obligations, (2) Qualcomm’s disclosure

15   obligations regarding its IPR, and (3) essentiality determinations.

16         Apple and the CMs contend that, as part of or as a result of Qualcomm’s unlawful

17   monopolization scheme, Qualcomm has violated its FRAND commitments to SSOs

18   involved in the creation and distribution of cellular standards. See Dkt. 79 at ¶¶ 30, 34,

19   37, 44, 45, 49, 618. Qualcomm, in turn, seeks a declaration that it has complied with its

20   FRAND obligations to ETSI. Whether Qualcomm has complied with its FRAND

21   commitments to SSOs is relevant to a number of the claims in these consolidated cases.

22   E.g., Apple Claims LXI, LXII, LXIII; CMs Counterclaims I–III, V–IX; Qualcomm

23   Counterclaims II, IV. Qualcomm’s compliance with its FRAND commitments is also

24   relevant to many of the defenses in this case. For example, Apple and the CMs are

25   defending against Qualcomm’s efforts to enforce the SULAs by contending that the

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27     ATIS has adopted the patent policy of the American National Standards Institute
     (ANSI), which is included here for completeness.
28                                                                  Case No. 17-cv-0108-GPC-MDD
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1    SULAs are not FRAND.
2          The jury will be asked to consider various commitments an owner of declared-
3    essential patents makes to SSOs. First, the jury will consider whether certain of
4    Qualcomm’s licensing royalties are FRAND or, as Apple and the CMs contend, well
5    above FRAND. In order for the jury to make this determination the Court must first
6    determine whether TIA, ATIS, and ETSI require an owner of FRAND-encumbered
7    patents merely to offer licenses on FRAND terms, such that the jury may assess FRAND
8    using known and accepted legal and economic principles. Second, the jury will be asked
9    to consider whether refusing to license competitors is an act that furthers Qualcomm’s
10   alleged antitrust behavior. Here, the Court must first construe whether the SSOs in
11   question require SEP owners to offer FRAND licenses to anyone who asks (e.g., “all
12   applicants” under the TIA IPR Policy, “applicants desiring to utilize the license for the
13   purpose of implementing the standard” under the ATIS IPR Policy, and “those who seek
14   licenses” under the ETSI IPR Policy), including competitors.
15         Both of these determinations implicate provisions of the IPR policies of TIA,
16   ATIS, and ETSI. See Docs. 16-19 (TIA IPR Policy § 3.1.1; ATIS IPR Policy §§ 10.4.1,
17   10.4.2; ANSI Patent Policy § 3.1.1; ETSI IPR Policy cl. 6.1, 15.4, 15.5, 15.8).
18         As a preliminary matter, neither TIA nor ATIS includes a choice-of-law clause in
19   the respective IPR policy. Therefore, California contract law applies when interpreting
20   the terms of the respective IPR policy. See Fed. Trade Comm’n v. Qualcomm Inc., No.
21   17-CV-00220-LHK, 2018 WL 5848999, at *7 (N.D. Cal. Nov. 6, 2018). In contrast, the
22   ETSI IPR Policy is explicit in its adoption of French law. Doc. 19 at -243 (ETSI IPR
23   Policy, cl. 12).41 However, similar contractual obligations must be interpreted
24   consistently. See Qualcomm, 2018 WL 5848999, at *10 (interpreting TIA and ATIS IPR
25   policies consistent with other IPR policies considered by the Ninth Circuit because the
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27      ETSI also explicitly confers national courts of law with the authority to resolve IPR
     disputes. ACM Ex. E (IPR Guide) § 4.3.
28                                                                 Case No. 17-cv-0108-GPC-MDD
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1    FRAND commitments are nearly identical). Thus, the FRAND obligation cannot mean
2    one thing under ETSI’s IPR Policy and an entirely different thing under TIA’s IPR
3    Policy. In fact, where there is an inconsistency between legal interpretations of identical
4    contractual obligations, U.S. law must prevail. Apple Inc. v. Samsung Elecs. Co., Ltd.,
5    2012 WL 1672493 at *10 (N.D. Cal. May 14, 2012) (noting that foreign law cannot be
6    “contrary to any fundamental California policy”); see Animal Sci. Prods. v. Hebei
7    Welcome Pharm. Co. Ltd., 138 S. Ct. 1865, 186970 (2018).
8          First, the IPR policies of TIA, ATIS, and ETSI all require patent owners to make
9    FRAND offers, but none specifically defines “fair, reasonable, and nondiscriminatory.”
10   Where, as here, a jury will decide whether or not a specific offer complies with a patent
11   owner’s FRAND commitments, it is important to instruct the jury on the proper legal and
12   economic principles for determining whether the patent owner has made a FRAND offer.
13   See TCL Commc’n Tech. Holdings, Ltd. v. Telefonaktiebolaget LM Ericsson, 2018 WL
14   4488286, at *8 (C.D. Cal. Sept. 14, 2018) (“Neither the history of ETSI’s policy
15   development nor the meager case law development of the FRAND concept provides the
16   Court definitive guidance in assessing whether Ericsson’s offers have been non-
17   discriminatory. As TCL suggests, the Court must turn to law, logic, and economics.”).
18   These legal and economic principles apply equally between SSOs. For example, the
19   Model Patent Jury Instructions for the United States District Court for the Northern
20   District of California does not distinguish between SSOs in instructing juries about how
21   to analyze damages for FRAND-encumbered patents. See N.D. Cal. Model Patent Jury
22   Instructions at 53 (“5.10 Reasonable Royalty—Commitment to License on Reasonable
23   and Nondiscriminatory Terms”).
24         Patent damages principles are particularly applicable in assessing FRAND because
25   a FRAND license or FRAND offer deals with patents. See, e.g., TCL Commc’n, 2018
26   WL 4488286 (determining FRAND royalty for patents declared essential to ETSI); In re
27   Innovatio IP Ventures, LLC Patent Litig., 2013 WL 5593609 (N.D. Ill. 2013)
28                                                                 Case No. 17-cv-0108-GPC-MDD
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1    (determining FRAND royalty); GPNE Corp. v. Apple, Inc., 2014 WL 1494247 (N.D. Cal.
2    Apr. 16, 2014) (discussing approaches to determining FRAND royalty in a case dealing
3    with non-SEP patents); see also, e.g., Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201
4    (Fed. Cir. 2014). Fact and expert witnesses will discuss the issues associated with
5    figuring out whether Qualcomm’s royalties are FRAND or above FRAND. Such issues
6    include analyzing comparable license agreements, issues of royalty stacking, issues
7    surrounding the value attributable to the patented technology, as well as how patent
8    merits matter to a proper FRAND analysis.
9          Second, the IPR policies of TIA, ATIS, and ETSI do not distinguish between
10   potential recipients of the patent owner’s FRAND offer. Thus, a FRAND offer must be
11   made to any party who requests a SEP license, including baseband chipset manufacturers.
12   See Microsoft Corp. v. Motorola Inc., 795 F.3d 1024, 1031 (9th Cir. 2015) (A “SEP
13   holder cannot refuse a license to a manufacturer who commits to paying the RAND
14   rate.”). Judge Koh recently ruled on this issue, finding it was inconsistent with
15   Qualcomm’s FRAND obligations to TIA and ATIS for Qualcomm to refuse to license to
16   baseband chipset competitors, such as Intel. Qualcomm, 2018 WL 5848999, at *15.
17   Judge Koh considered, and rejected, Qualcomm’s argument that the FRAND obligation
18   does not extend to chipset manufacturers because a chipset does not “practice” or
19   “implement” standards:
20         However, that distinction not only violates the non-discrimination
           obligation, but also makes little sense. As Qualcomm’s founder conceded
21         and Qualcomm’s own documents demonstrate, modem chips may be
           “compliant” with cellular standards.
22   Id. at *14. The FRAND obligation is about a license to practice patents and “Qualcomm
23   concedes that Qualcomm owns SEPs that are infringed by typical modem chips.” Id.
24   (discussing Ericsson, 773 F.3d at 1209, and finding that “if a modem chip infringes a
25   SEP, practice or implementation of the relevant standard would require a license to that
26   SEP”); see also ACM Ex. F (Tiedemann Dep.) at 228:6-229:4 (inventor testifying as to
27   his belief that SEPs are implemented at the chipset); ACM Ex. G (Qualcomm tax memo)
28                                                                 Case No. 17-cv-0108-GPC-MDD
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                                                 56
1    at -414 to -415 (“[B]y virtue of incorporating QCOM designed ASICs [chipsets] in their
2    products, licensee’s CDMA products necessarily infringe on many QCOM patents.”).
3          Judge Koh considered Qualcomm’s own documents and statements (including the
4    testimony of Qualcomm’s founder), as well as Qualcomm’s evidence regarding industry
5    practice.42 Qualcomm, 2018 WL 5848999, at *12-13. Furthermore, it is neither relevant,
6    nor surprising, that Qualcomm and other large cellular SEP owners, in the business of
7    monetizing their patents and promoting their technology for inclusion in standards, also
8    have historically demanded device level licenses. As Qualcomm candidly told the IRS,
9    “[not being] able to collect a royalty on [a] patent from the guy who makes the cell phone
10   . . . would be a very bad thing because we collect a royalty on a cell phone that’s based
11   on the price of the cell phone and that’s a lot higher than the price of a chip. So given a
12   choice, you’re always going to want to collect a royalty on the cell phone, not on the
13   chip.” ACM Ex. H at 26 (emphasis added); id. at 71 (“[H]aving to choose between
14   [handset level] or [chipset level licensing] then you’re right, obviously the handset is
15   humongously more lucrative for a bunch of reasons.”). Qualcomm admits the materials
16   before Judge Koh are no different from those Qualcomm now proffers.
17         “Ninth Circuit precedent establishes that Qualcomm’s FRAND commitments
18   include an obligation to license to all comers, including competing modem chip
19   suppliers.” Id. at *10. The TIA and ATIS IPR policies contain language “almost
20   identical” to the IEEE IPR policy the Ninth Circuit interpreted. Id. at *11. The parties
21   42
        Qualcomm submitted the declarations of Lorenzo Casaccia, Louis Lupin, Edward
22   Tiedemann before Judge Koh during the summary judgment proceeding. See No. 5:17-
23   cv-00220 (N.D. Cal.), Dkt. 870-18, -20, -22. This evidence cannot be used to vary the
     terms of the SSOs’ IPR policies. United States v. King Features Entm’t, Inc., 843 F. 2d
24   394, 398 (9th Cir. 1988). Further, Qualcomm’s reliance on Mr. Casaccia is concerning.
25   Mr. Casaccia submitted a Rule 26 Disclosure in this litigation on the specific areas on
     which he is expected to testify and confirmed this at deposition. ACM Ex. I (Casaccia
26   Disclosure) at 2; ACM Ex. J (Casaccia Dep.) at 171:23-172:18. The testimony in the
27   declaration Qualcomm now relies on is not among those areas. Moreover, Mr.
     Casaccia’s knowledge on SSOs is limited. Id. at 172:19-173:6.
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1    agree that ETSI’s policy cannot be interpreted in a way that would make the meaning of
2    FRAND inconsistent between SSOs.
3                        ii.   Qualcomm’s Position
4             Qualcomm makes licenses to its SEPs available on “fair, reasonable and non-
5    discriminatory” (“FRAND”) terms pursuant to commitments it has made with various
6    SDOs, including ETSI, ATIS and TIA. Apple and the CMs raise two issues relating to
7    the FRAND commitment: (1) how to determine whether Qualcomm has offered FRAND
8    terms; and (2) whether the IPR Policies of ETSI, ATIS and TIA require the licensing of
9    the sale and manufacture of components, such as chips.
10            Qualcomm contends that the Court should instruct the jury regarding the meaning
11   and impact of Qualcomm’s FRAND commitment to ETSI, ATIS and TIA. The specific
12   determinations Qualcomm seeks with respect to ETSI are addressed in Qualcomm’s
13   separate Rule 44.1 Motion because the ETSI IPR Policy is governed by French law. The
14   Court’s instructions with respect to ATIS and TIA should be informed by and similar to
15   its instructions regarding ETSI because ETSI is the most important of the SDOs, and the
16   IPR policies of each of ETSI, TIA and ATIS are required to be consistent.
17            The Court should decline to instruct the jury as to particular methodologies to
18   apply when determining whether Qualcomm’s royalties are consistent with Qualcomm’s
19   FRAND commitments. It is up to the jury, based on the testimony from fact and expert
20   witnesses, to apply its own judgment.
21            1. Determination of FRAND Royalties
22            Whether Qualcomm’s royalties are FRAND is a fact-intensive inquiry that will be
23   the subject of extensive fact and expert testimony, and it is a question for the jury to
24   decide.43 Aside from acting in a gate-keeping function to keep from the jury fact or
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26       43
           Because Qualcomm’s FRAND commitments arise from contractual commitments
27   it makes to various SDOs, those commitments have meaning only in relation to a
     particular IPR Policy of a particular SDO.
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1    expert testimony that should not be admitted, a court’s role is not to bless or explain any
2    particular methodology. United States v. Sarno, 73 F.3d 1470, 1485 (9th Cir. 1995);
3    E.E.O.C. v. AutoZone, Inc., 809 F.3d 916, 923 (7th Cir. 2016) (“[T]he judge may and
4    usually should leave the subject of the interpretation of the evidence to the argument of
5    counsel.”). The Court need only properly instruct the jury on the legal aspects of
6    FRAND commitments (e.g., they are contractual) and allow the jury to assess the
7    evidence presented to reach decisions on the FRAND-related claims. Noel v. Artson, 641
8    F.3d 580, 587 (4th Cir. 2011) (“[G]ood jury instructions . . . let counsel argue factually in
9    terms of a legal standard, rather than having the judge make counsel’s particularized
10   arguments for them”.). It would be inappropriate for the Court to instruct the jury on
11   economic principals.
12            Apple and the CMs appear to misunderstand this basic procedure because in their
13   proposed jury instructions, they have asked the Court to give instructions on particular
14   valuation methodologies. These have no place in jury instructions. For example, Apple
15   seeks an instruction that FRAND royalties should be calculated based on the price of the
16   “smallest salable unit” that practices the patent (“SSPPU”) and has a close relation to the
17   claimed invention.44 Similarly, Apple has requested an instruction indicating that the jury
18   may use a “top-down approach to determine whether a royalty is FRAND”. Such
19   instructions are improper, as they serve only to bolster the theories of Apple’s experts.
20   See AutoZone, Inc., 809 F.3d at 923; Noel, 641 F.3d at 587.
21            As Apple and the CMs recognize, the parties have fact and expert witnesses that
22   will discuss the issues associated with determining whether Qualcomm’s offered royalties
23   are FRAND. The Court should not bless (or critique) through jury instructions any of the
24   methodologies offered by the expert witnesses.
25            2. Licensing of Component Chipsets
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27        For the reasons explained in Qualcomm’s motion in limine to exclude testimony
     concerning component-level royalty base, SSPPU is inappropriate in this case.
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1             Apple argues that Qualcomm is required by its FRAND commitments to ETSI,
2    ATIS and TIA to license the manufacture and sale of baseband chipsets. That is
3    incorrect. The plain text of the Policies requires licensing only the production and sale of
4    systems or devices (i.e., infrastructure or handsets) and not the production or sale of
5    components (e.g., chipsets). Significantly, at the time the Policies were adopted and ever
6    since, the prevailing and widely acknowledged practice in the cellular industry has been
7    to license exclusively device manufacturing, not component making. While these
8    Policies require the licensing of devices, they do not require the licensing of components.
9             The ETSI IPR Policy requires licensing only at the device level and does not
10   require component licensing for the reasons explained in Qualcomm’s Rule 44.1
11   motion.45 While Qualcomm will not repeat its Rule 44.1 briefing here, Qualcomm’s
12   argument in that brief is based on an examination of the precise language of the Policy, as
13   well as testimony regarding the intent of the drafters and a review of industry practice, all
14   factors to which a French court would look, and all factors that Apple fails to address.
15            Because the ETSI IPR Policy does not require component licensing, neither can the
16   ATIS or TIA IPR Policies. ETSI has long been considered as having the leading IPR
17   policy in the cellular industry (Ex. 43 ¶ 8), and the governing rules among the relevant
18   SDOs require that their IPR policies remain “compatible”.46 Apple acknowledges that
19   the IPR policies of ETSI, ATIS and TIA cannot be interpreted inconsistently. Because
20   ETSI does not require licenses to be made available for the manufacture and sale of
21   cellular chips, then, to be compatible with the ETSI IPR policy, the ATIS and TIA IPR
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         45
23          The parties agree that the ETSI IPR Policy should be interpreted under French law,
     and the ATIS and TIA IPR Policies under California law.
24       46
            This requirement is well established. Both ETSI and ATIS are Organizational
25   Partners of 3GPP. 3GPP develops technical specifications, which are, in turn, adopted by
     its Organizational Partners into cellular standards for the regions governed by the
26   Organizational Partner (such as Europe for ETSI and North America for ATIS). (Ex. 18.)
27   The operating rules and procedures of 3GPP IPR policies require that the ETSI and ATIS
     IPR Policies be “compatible” with one another. (Id.)
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1    Policies cannot either. For such licensing to be required under some SDO’s policies and
2    not required under others would introduce an obvious incompatibility.
3             Apple’s argument that the ATIS and TIA IPR Policies require Qualcomm to
4    license the manufacture and sale of chips relies heavily on Judge Koh’s decision granting
5    the FTC’s motion for partial summary judgment. See FTC v. Qualcomm, 2018 WL
6    5848999 (N.D. Cal. Nov. 6, 2018). When Judge Koh decided the FTC’s motion, she was
7    not asked to determine whether the ETSI IPR Policy required licensing of baseband chip
8    suppliers because the FTC moved only for partial summary judgment on whether the
9    ATIS and TIA IPR Policies required Qualcomm to license its SEPs to component
10   makers, explicitly excluding ETSI. See FTC, 2018 WL 5848999, at *3.47
11            Apple’s argument that the ATIS and TIA IPR Policies require SEP holders to
12   license the manufacture and sale of chips also fails on its own terms, even apart from any
13   consideration of the ETSI IPR Policy. First, the ATIS and TIA IPR Policies, while
14   requiring the licensing of cellular devices, do not require the licensing of cellular chips
15   because cellular chips do not “implement” or “practice” the ATIS or TIA cellular
16   standards respectively. The ATIS licensing commitment requires that licenses be made
17   available only to applicants “desiring to utilize the license for the purpose of
18   implementing the [relevant ATIS] standard”. (App’x Doc. No. 17 at § 10.4.2.) The
19   3GPP cellular standards adopted by ATIS (“3GPP Cellular Standards”) specify the
20   performance, interoperability and communication protocols between two broad
21   “domains” of a cellular system: (1) Infrastructure, which comprises fixed equipment
22   such as base stations that send and receive wireless signals and relay those signals over
23       47
            Judge Koh declined to consider evidence that the ETSI IPR Policy does not require
24   component licensing because it was unrelated to “circumstances surrounding the making”
25   of the TIA and ATIS IPR Policies. SFTC, 2018 WL 5848999, at *1 (relying upon Pacific
     Gas & Electric Co. v. G.W. Thomas Drayage & Rigging Co., 69 Cal. 2d 33 (1968)). But
26   there is no such limitation. In Pacific Gas, the California Supreme Court recognized that
27   evidence not directly related to the circumstances of the making of the contract, such as
     trade usage and custom, could be admissible extrinsic evidence. Id. at 39 n.6.
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1    wired connections, and (2) User Equipment (“UE”), an operational device such as a
2    smartphone. (Ex. 41 ¶ 7, 13.) By contrast, “the 3GPP Cellular Standards have no notion
3    of modem chips, and the 3GPP Cellular Standards do not define a modem chip or how a
4    modem chip should be implemented.” (Id. ¶ 8.) Similarly, “3GPP Cellular Standards
5    define and provide for testing to determine conformance of devices with the standards’
6    requirements,” and the “testing specifications are at the device level.” (Id. ¶ 10.d.) The
7    3GPP Standards therefore show that, while a modem chip may facilitate compliance with
8    a standard, based on its inclusion in an end user device, it cannot achieve by itself such
9    compliance; actual implementation of the standard depends on the complete end-user
10   device. (Id. ¶¶ 5, 8, 10.) Thus, Qualcomm’s licensing commitments to ATIS do not
11   require licenses to be made available for modem chips because they do not implement
12   cellular standards; only complete end-user devices (and infrastructure) can do that.48
13           The TIA licensing commitment requires that licenses be made available to
14   applicants only “to the extent necessary for the practice of [the relevant TIA standard].”
15   (App’x Document No. 16 § 3.1.1.) TIA is the U.S. Organizational Partner of 3GPP2, a
16   global collaborative partnership that, like 3GPP, has developed cellular standards. (Ex.
17   7.) 3GPP2 develops technical specifications, which are then adopted by their
18   Organizational Partners into cellular standards. (Id.) Like the 3GPP technical
19   specifications, the 3GPP2 technical specifications that have been adopted by TIA specify
20   the protocols between two broad “domains” of a cellular system: (1) Infrastructure; and
21   (2) Mobile Station, an operational device such as a smartphone (referred to as “User
22   Equipment” in 3GPP parlance). (Ex. 42 ¶ 16.) The 3GPP2 standards do not define how
23   a mobile station is constructed, nor do they define the components of a mobile station.
24   (Id.) The standards include thousands of instances stating that the “mobile station shall”
25      48
           For its analysis of the ATIS standards, Qualcomm offers the declaration of Lorenzo
26   Casaccia, a VP of Engineering of Qualcomm Technologies, Inc. Mr. Casaccia has been
27   involved in 3GPP cellular standards development since 2001. (Ex. 41 ¶ 1.) Apple has
     not provided any proof regarding what it means to “implement” ATIS cellular standards.
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1    meet some particular performance or communication requirement but do not provide that
2    a “modem chip” (or equivalent term) must meet any such requirement. (Id.) All testing
3    specifications are at the mobile station level. (Id.) The 3GPP2 standards simply have no
4    notion of modem chips, (id. ¶ 13), so the standards “cannot be practiced by a modem chip
5    by itself”, (id. ¶ 17).49 Therefore, there can be no obligation to offer a FRAND license to
6    manufacture or sell modem chips under the TIA IPR Policy.50
7            Apple and the CMs focus upon the fact that the Policies do not create any
8    distinctions within the class of recipients entitled to invoke the SEP holders’ FRAND
9    commitments. But they never address the pertinent question of the scope of what must
10   be licensed to that class. Put differently, Apple and the CMs do not address whether the
11   ATIS or TIA Policies have any limitations on what (as opposed to who) must be licensed
12   under the IPR Policy. Judge Koh’s decision suffered from the same critical flaw. In
13   particular, Judge Koh relied on the Ninth Circuit’s decisions in Microsoft Corp. v.
14   Motorola, Inc., 696 F.3d 872, 876 (9th Cir. 2012) (“Microsoft II”), and Microsoft Corp.
15   v. Motorola, Inc., 795 F.3d 1024, 1031 (9th Cir. 2015), FTC, 2018 WL 5848999 at *10,
16   which discussed the IPR Policies of the International Telecommunications Union (“ITU”)
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18      49
            For its analysis of the TIA standards, Qualcomm offers the declaration of Dr.
19   Edward G. Tiedemann, Jr. Dr. Tiedemann has led Qualcomm’s standardization and
     industry activities since 1991 and been involved with TIA since 1992. (Ex. 42 ¶ 1.)
20   Apple has not provided any proof regarding what it means to “practice” TIA standards.
         50
21          Apple relies on statements that Qualcomm owns SEPs with claims that are
     infringed by a typical modem chip. That has no bearing on whether a modem chip
22   “implements” or “practices” an ATIS or TIA standard. The ATIS and TIA IPR Policies
23   do not require SEP holders to license applicants for the purpose of implementing or
     practicing any claim of any SEP; rather, they require SEP holders to license applicants
24   for the purpose of implementing or practicing the standards as a whole. A claim in a
25   patent can specify a narrow function that could be infringed by a single component such
     as a chip. But a standard, unlike a patent claim, specifies hundreds, if not thousands, of
26   functions required to be carried out by handsets and infrastructure, each of which
27   comprises hundreds of components. (Ex. 41 ¶ 23.)
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1    (emphasis added). Thus, long-standing industry practice confirms that the ATIS and TIA
2    IPR Policies do not require licensing of cellular chips.54
3               Apple’s position that the ETSI, ATIS and TIA IPR Policies require licensing the
4    manufacture or sale of component would radically reshape licensing in the cellular
5    industry, not just for Qualcomm but for all cellular SEP holders that have made FRAND
6    commitments and license only at the device level. The industry practice of licensing
7    exclusively at the device level refutes the scenario envisaged by Judge Koh, and relied
8    upon by Apple and the CMs, whereby a SEP holder who makes chips might prevent
9    another chip maker from selling chips to device makers, thereby achieving a monopoly.
10   FTC, 2018 WL 5848999, at *13. The industry practice evidence shows that multiple
11   current and former suppliers of modem chips do not have a single license for cellular
12   SEPs, and that no SEP holder has ever tried to prevent them from selling components.
13   This telling absence leads to but one conclusion: the ATIS and TIA IPR Policies do not
14   mandate the grant of a license for the manufacture or sale of components.
15   VI.        The Disclosure Obligation
16                         i.   Apple and the CMs’ Position

17              The Court will need to interpret the scope of Qualcomm’s disclosure obligations to

18   TIA, ATIS, and ETSI—specifically, good faith and timing—in order for the jury to

19   determine whether Qualcomm has complied with those obligations. Compliance with the

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21          Evidence regarding industry practice was presented to Judge Koh, but contrary to
     Apple’s suggestion, was not considered because she found it was not “tethered to an
22   interpretation of any IPR Policy”. FTC, 2018 WL 5848999, at *13. That was a mistake
23   because testimony from SEP holders who have made FRAND commitments to SDOs is
     powerful evidence of the intent of the parties. Crestview Cemetery Ass’n v. Dieden, 54
24   Cal. 2d 744, 754 (1960) (“[E]ven if it be assumed that the words standing alone might
25   mean one thing to the members of this court, where the parties have demonstrated by
     their actions and performance that to them the contract meant something quite different,
26   the meaning and intent of the parties should be enforced.”); Phoenix Tech. Ltd. v.
27   VMware, Inc., 2017 WL 1289863, at *3 (N.D. Cal. Jan. 6, 2017).

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1    SSOs’ IPR policies is a necessary step in determining issues surrounding the FRAND
2    commitment. Each of the IPR policies of the SSOs at issue has provisions covering the
3    disclosure obligation. See Docs. 16-19 (TIA IPR Policy § 3.1.2; ATIS IPR Policy §
4    10.4.1; ETSI IPR Policy, cl. 4.1, 4.2, 15.7).
5            Under all three IPR policies, SEP owners have an obligation to make good faith
6    efforts to timely disclose their IPR, i.e., patents and relevant patent applications, to SSOs.
7    This obligation specifically applies when a SEP owner is participating in the development
8    of a standard.55 See Core Wireless Licensing S.A.R.L. v. Apple Inc., 899 F.3d 1356, 1368
9    (Fed. Cir. 2018). Under California law, every contract imposes a duty of good faith and
10   fair dealing in its performance. Carma Developers, 826 P.2d 726 (Cal. 1992). There is a
11   parallel obligation under French law. See Apple and the CMs’ Rule 44.1 Brief. Thus,
12   Qualcomm has a good faith obligation to disclose its relevant IPR to TIA, ATIS, and
13   ETSI.
14           Whether a SEP owner is acting in a manner consistent with its good faith
15   obligation must be examined on a case-by-case, or disclosure-by-disclosure, basis and
16   may be more meaningfully analyzed by considering what is “prohibited.” See Dr.
17   Greens, Inc. v. Stephens, 2012 WL 12846976, at *9 (S.D. Cal. Mar. 21, 2012) (“Exactly
18   what constitutes bad faith remains to be determined on a case by case basis.”). A French
19   judge would similarly analyze a SEP owner’s disclosure conduct. See Apple and the
20   CMs’ Rule 44.1 Brief.
21           Generally, SEP owners participating in a standard “should disclose intellectual
22   property rights that they know are relevant to potential standards while the standard is
23   being discussed and before the standard is adopted.” Apple, Inc. v. Motorola Mobility,
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25      In re Crystal Props., Ltd., 268 F.3d 743, 748 (9th Cir. 2001) (Courts “must interpret
     the contract in a manner that gives full meaning and effect to all of the contract’s
26   provisions.”); Avidity Partners, LLC v. State of Cal., 165 Cal. Rptr. 3d 299, 320 (Cal.
27   App. 4th 2013) (“[T]he scope of conduct prohibited by the covenant of good faith is
     circumscribed by the purposes and express terms of the contract.”).
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1    Inc., 886 F. Supp. 2d 1061, 1068 (W.D. Wis. 2012). In the case of ETSI, “the policy
2    clearly requires members to make efforts to disclose intellectual property rights before a
3    standard is adopted.” Id. at 1086. Thus, disclosure must be made no later than the date
4    the standard was adopted. Core Wireless, 899 F.3d at 1368 (applying theory of
5    unenforceability for implied waiver). Because the IPR policies of TIA and ATIS are
6    similar to ETSI’s, their disclosure obligations may be similarly interpreted.
7                     ii.   Qualcomm’s Position
8          Although Apple and the CMs now argue that Qualcomm breached its obligation to
9    SDOs to timely declare its IPRs, for the reasons stated in Qualcomm’s motion in limine
10   to exclude evidence concerning the timing of certain SEP disclosures, any reference to
11   the issue of when Qualcomm disclosed any of its intellectual property rights (“IPRs”) to
12   ATIS and TIA should be stricken from this case.
13         As to the substance of the disclosure practices, Apple and the CMs have misstated
14   the law. While the provisions in the IPR Policies of TIA, ATIS and ETSI concerning the
15   disclosure of IPRs differ, none of them create a blanket rule requiring a SEP holder to
16   disclose all of its SEPs prior to the adoption of a standard. The ATIS and TIA policies do
17   not impose a binding contractual obligation to disclose IPRs at all, while under the ETSI
18   policy, which is governed by French law, members shall use “reasonable endeavours” to
19   disclose IPRs. This clause merely requires a reasonable attempt to disclose IPR.
20         The plain language of the TIA IPR Policy demonstrates that it imposes no
21   obligation to disclose IPRs. Section 3.1.2 states, “TIA’s Policy is to encourage, but not
22   require, the voluntary disclosure (preferably early) of” potentially essential IPRs. The
23   use of the phrase “encourage, but not require” leaves no question that the Policy does not
24   require disclosure of IPRs. (emphasis added) The word “encourage” means something
25   different than an obligation to “require.” Associated/ACC Int'l, Ltd. v. Dupont Flooring
26   Sys. Franchise Co., 2002 WL 32332751, at *3 (D. Del. Mar. 28, 2002), aff’d, 89 F.
27   App’x 758 (3d Cir. 2004).
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     VIII. Essentiality
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                        i.   Apple and the CMs’ Position
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           Qualcomm has identified a number of patents which it has declared essential to
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     ETSI and contends are essential to ETSI standards. However, Apple and the CMs
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     contend that ETSI’s IPR Policy defines “essential” such that patents directed to an
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     optional portion of the standard do not meet that definition. Clause 15 of the ETSI IPR
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     Policy includes definitions for certain words used throughout the policy, including a
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     definition for the term “essential.” See Doc. 19 (ETSI IPR Policy, cl. 15.6). The Court
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     will need to determine whether this term is clear and unambiguous, requiring no
9
     interpretation. See Apple and the CMs’ Rule 44.1 Brief.
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                       ii.   Qualcomm’s Position
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           Because the interpretation of the ETSI IPR Policy is a matter of French law,
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     Qualcomm’s support for its position that patents relating to an optional part of the
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     relevant ETSI standard are essential under the plain language of the ETSI IPR Policy will
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     be set forth in full in its opposition Rule 44.1 briefing.
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1    Dated: February 15, 2019              Respectfully submitted,

2                                          By:    /s/ Evan R. Chesler
3                                          Evan R. Chesler (pro hac vice)
                                           (N.Y. Bar No. 1475722)
4                                          echesler@cravath.com
                                           Keith R. Hummel (pro hac vice)
5                                          (N.Y. Bar No. 2430668)
                                           khummel@cravath.com
6                                          Richard J. Stark (pro hac vice)
                                           (N.Y. Bar No. 2472603)
7                                          rstark@cravath.com
                                           Antony L. Ryan (pro hac vice)
8                                          (N.Y. Bar No. 2784817)
                                           aryan@cravath.com
9                                          Gary A. Bornstein (pro hac vice)
                                           (N.Y. Bar No. 2916815)
10                                         gbornstein@cravath.com
                                           J. Wesley Earnhardt (pro hac vice)
11                                         (N.Y. Bar No. 4331609)
                                           wearnhardt@cravath.com
12                                         Yonatan Even (pro hac vice)
                                           (N.Y. Bar No. 4339651)
13                                         yeven@cravath.com
                                           Vanessa A. Lavely (pro hac vice)
14                                         (N.Y. Bar No. 4867412)
                                           vlavely@cravath.com
15                                         CRAVATH, SWAINE & MOORE LLP
                                           Worldwide Plaza
16                                         825 Eighth Avenue
                                           New York, New York 10019
17                                         Telephone: (212) 474-1000
                                           Facsimile: (212) 474-3700
18
19                                         David A. Nelson (pro hac vice)
                                           (Ill. Bar No. 6209623)
20                                         davenelson@quinnemanuel.com
                                           Stephen Swedlow (pro hac vice)
21                                         (Ill. Bar No. 6234550)
                                           stephenswedlow@quinnemanuel.com
22                                         QUINN EMANUEL URQUHART &
                                           SULLIVAN, LLP
23                                         500 West Madison St., Suite 2450
                                           Chicago, Illinois 60661
24                                         Telephone: (312) 705-7400
                                           Facsimile: (312) 705-7401
25
                                           Alexander Rudis (pro hac vice)
26                                         (N.Y. Bar No. 4232591)
                                           alexanderrudis@quinnemanuel.com
27
                                                                      Case No. 17-cv-0108-GPC-MDD
28                              JOINT PRETRIAL BRIEF IDENTIFYING DISPUTED CONTRACT PROVISIONS
                QUINN EMANUEL URQUHART &
1               SULLIVAN, LLP
                51 Madison Ave., 22nd Floor
2               New York, New York 10010
                Telephone: (212) 849-7000
3               Facsimile: (212) 849-7100
4               Sean S. Pak (SBN 219032)
                seanpak@quinnemanuel.com
5               QUINN EMANUEL URQUHART &
                SULLIVAN, LLP
6               50 California St., 22nd Floor
                San Francisco, California 94111
7               Telephone: (415) 875-6600
                Facsimile: (415) 875-6700
8
                Karen P. Hewitt (SBN 145309)
9               kphewitt@jonesday.com
                4655 Executive Drive, Suite 1500
10              JONES DAY
                San Diego, California 92121
11              Telephone: (858) 314-1200
                Facsimile: (858) 345-3178
12
                Attorneys for Defendant and
13              Counterclaim-Plaintiff Qualcomm
                Incorporated
14
15              By: William A. Isaacson
16              Juanita R. Brooks, SBN 75934,
                brooks@fr.com
17              Seth M. Sproul, SBN 217711,
                sproul@fr.com
18              FISH & RICHARDSON P.C.
                12390 El Camino Real
19              San Diego, CA 92130
                Phone: 858-678-5070 / Fax: 858-678-5099
20
                Ruffin B. Cordell, DC Bar No. 445801,
21              pro hac vice, cordell@fr.com
                Lauren A. Degnan, DC Bar No. 45421,
22              pro hac vice, degnan@fr.com
                FISH & RICHARDSON P.C.
23              1000 Maine Avenue, S.W., Suite 1000
                Washington, DC 20024
24              Phone: 202-783-5070 / Fax: 202-783-2331
25              William A. Isaacson, DC Bar No. 414788,
                pro hac vice, wisaacson@bsfllp.com
26              Karen L. Dunn, DC Bar No. 1002520,
                pro hac vice, kdunn@bsfllp.com
27              BOIES SCHILLER FLEXNER LLP
                                       Case No. 17-cv-0108-GPC-MDD
28   JOINT PRETRIAL BRIEF IDENTIFYING DISPUTED CONTRACT PROVISIONS
                1401 New York Avenue, N.W.
1               Washington, DC 20005
                Phone: 202-237-2727 / Fax: 202-237-6131
2
                Attorneys for Plaintiff and Counterclaim
3               Defendant Apple Inc.
4               By: Jason C. Lo
5               Theodore R. Boutrous, Jr., SBN 132099,
                tboutrous@gibsondunn.com
6               Richard J. Doren, SBN 124666
                rdoren@gibsondunn.com
7               Daniel G. Swanson, SBN 116556,
                dswanson@gibsondunn.com
8               Michele L. Maryott, SBN 191993
                mmaryott@gibsondunn.com
9               Jason C. Lo, SBN 219030,
                jlo@gibsondunn.com
10              Jennifer J. Rho, SBN 254312,
                jrho@gibsondunn.com
11              Melissa Phan, SBN 266880,
                mphan@gibsondunn.com
12              GIBSON, DUNN & CRUTCHER LLP
                333 South Grand Avenue
13              Los Angeles, CA 90071
                Tel: (213) 229-7000; Fax: (213) 229-7520
14
                Cynthia Richman, DC Bar No. 492089,
15              pro hac vice
                crichman@gibsondunn.com
16              GIBSON, DUNN & CRUTCHER LLP
                1050 Connecticut Avenue, N.W.
17              Washington, DC 20036
                Tel: (202) 955-8500; Fax: (202) 467-0539
18
                Attorneys for Defendants,
19              Counterclaimants, and Third-Party
                Plaintiffs Compal Electronics, Inc., FIH
20              Mobile Ltd., Hon Hai Precision Industry
                Co., Ltd., Pegatron Corporation, and
21              Wistron Corporation
22              Hugh F. Bassanger, pro hac vice
                hugh.bangasser@klgates.com
23              Christopher M. Wyant, pro hac vice
                chris.wyant@klgates.com
24              J. Timothy Hobbs, pro hac vice
                tim.hobbs@klgates.com
25              K&L GATES LLP
                925 Fourth Avenue, Suite 2900
26              Seattle, Washington 98104
                Tel: (206) 623-7580; Fax: (206) 370-6371
27
                                       Case No. 17-cv-0108-GPC-MDD
28   JOINT PRETRIAL BRIEF IDENTIFYING DISPUTED CONTRACT PROVISIONS
                Caitlin C. Blanche, SBN 254109,
1               caitlin.blanche@klgates.com
                K&L GATES LLP
2               1 Park Plaza Twelfth Floor
                Irvine, CA 92614
3               Tel: (949) 253-0900; Fax (949) 253-0902
4               Attorneys for Defendant, Counterclaimant,
                and Third-Party Plaintiff Wistron
5               Corporation
6
7
8
9
10
11
12
13
14
15
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